MGMCSTMTN 200701-17797-0001

Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020

3610 Byron Center Ave, SW
Wyoming, Ml49519

Return Service Requested

 

Mercantile

Bark of Michigen ae 07004

HOPCAT - ROYAL OAK, LLC
35 OAKES ST SW STE 400
GRAND RAPIDS, MI 49503

COMMERCIAL ANALYSIS CHECKING ACCOU

 
 

05/29/20 0.00 06/30/20

 

Page 1 of 57

Page: 1of1
Statement Date: 06/30/2020
Primary Account: XXXXXX9062
Documents: 0

Period: 05/29/20 to 06/30/20

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<T> 30-0
0
0

Account: XXXXXX9062

    

 

9,702.06 (10) 9,702.06 (6)

 

    

ee

Date Description

 

Amount

06/01 Posimates inc. Postmates St- 0.01
06/01 M4 C.i.c, Llc Fintecheft XX-XxXX1935 730.00
06/02 Tri-County Bever Fintecheft XX-XXX1935 620.00
06/02 Fabiano Brothers Fintecheft XX-XXX1935 1,266.00
06/02 Rave Associates, Fintecheft XX-XXX1935 2,351.00
06/03 Powers Distribut Fintecheft XX-XXX1935 1,293.35
06/03 Imperial Beverag Fintecheft XX-XXX1935 3,298.20
06/05 Returned Item, Insufficient Funds, Mthchgs Worldpay Merch Bankcard ii Ho 57.95
06/08 Returned Item, Insufficient Funds, Billng Vantiv_intg_pymt Merch Bankcar@gaaaap 17.50
ena 68.05

06/15 Transfer From Coml Analysis Ck Account

  

 
   
  
  

ate Description
06/01 Transfer To Coml Analysis Ck Accoun 730.01
06/02 Transfer To Comi Analysis Ck Accoun 4,237.00
06/03 Transfer To Coml Analysis Ck Account 4,591.55
06/04 Mthchgs Worldpay Merch Bankcai lopcat Royal Oak 57.95
06/05 Billng Vantiv_intg_pymt Merch Bankcar4QBBEB Hopcat Royal Oak - Ecomm 17.50
06/15 Commercial Service Charge 68.05

oes
Balance Date
06/01 06/02
06/04 57.95- 06/08

06/05 17.50- 06/15

 
      

ate Balance
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 2 of 57

THIS FORM IS PROVIDED TO HELP YOU BALANCE YOUR STATEMENT. BEFORE YOU START —

PLEASE BE SURE YOU HAVE ENTERED IN YOUR REGISTER ALL AUTO- OUTSTANDING
MATIC TRANSACTIONS SHOWN ON THE FRONT OF YOUR STATEMENT. CHECKS OR WITHDRAWALS
YOU SHOULD HAVE ADDED YOU SHOULD HAVE SUBTRACTED NO. AMOUNT
IF ANY OCCURRED: IF ANY OCCURRED:

1. Loan advances.

2. Credit memos.

3. Other automatic deposits.
4.

interest.

1. Automatic loan payments.

Automatic savings transfers.

Service charges.

Debit memos.

AIM or debit card withdrawals.

Other automatic deductions and payments

POON

BALANCE SHOWN
ON THIS STATEMENT =

DEPOSITS NOT SHOWN
ON THIS STATEMENT
(FANY §&

TOTAL $
SUBTRACT -

CHECKS OR WITHDRAWALS
QUTSTANDING $

 

BALANCE $

SHOULD AGREE WITH YOUR REGISTER
BALANCE AFTER DEDUCTING SERVIGE CHARGE
(IF ANY) SHOWN ON THIS STATEMENT.

 

 

 

 

 

IMPORTANT Please examine this statement immediately. We will assume that the balances it shows are correct unless you notify us af any
disagreement within 60 days.

How Finance If this statement inciudes billing information regarcing a personal line of credit, the finance charge for each statement {loan} period is calculated by applying the

Charge (fAny applicable daily periodic rate(s) to the daily balances, period rates May vary. To gel daily balances, we take the beginning balance of your account each cay,

Calculated add any new loans or charges and subtract any payments or credits. Then, we multiply the daily balance each day of the statement period by the applicable daily
Periodic rate(s). We than add up all of these daily finance charges to get your total finance charge. If there is only one (1) daily periodic rate during the statement
period, the finance charge may also be verified by multiplying the average daily balance by the number of daysin the statement period and multiplying the result
by the applicable daly penodic rate. Payments received dunng tegular banking hours at our office will be credited on the same benking day. Payments received
after the regular banking hours will be credited on the next banking day.

fn Case OF If you think your statement is wrong, or you need more information about a transaction on your statement, wite us at PO Box 1029, Alma, MI 48801-1029

Errors Or as soon as possible. We must hear from you no tater than 60 days after we sent you the first statement on which the error appeared. You can telephone us

Quastions at (800) 458-8700 but doing so will not preserve your rights.

About Your in your letter, give us the following information:

Personal 1. Your name and account number.

Line of Credit 2. The collar amount of suspected error,

(This is a 3. Describe the error and explain, if you can, why you believe there is an error, If you need more information, describe the

Summary of item you are unsure about.

Your Billing . . . . . : , A . .

Rights) You do not have to pay any amount in question while we are investigating, but you are stil obligated to pay the parts of your bill that are not in question. While
we Investigate your question, we cannot report you as delinquent or take any action to collect the amecunt you question. If you have authorized us to pay your
minimum monthly payment automatically by charging your deposit account with us. you can stop the payment on any amount you think is wrong. To stop the
payment, your latter must reach us three business days before the automatic payment is scheduled to occur

in Case Of Please telephone us at (800) 453-8700 or write us at P.O. Box 1029, Alma, MI 48801-1029 as soon as you can, if you think your statement or receipt is

Errors Or wrong, or if you need more information about a transfer on this statement or on a receipl. We must hear from you no later than 60 days after we sent you the

Questions FIRST statement on which the problem or error appeared.

About .- 1. Tell us your name and account number, '

Electronic 2. Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you need

Transfers mare information.

3. Tell us the dollar amount of the suspected error.

We will investigate your complaint and correct any error promptly. If we take more than 10 business days (20 days from point-of-sale or foreign debit card
transactions) to do this, we will recredit your account for the amount you think is in error, go that you will have use of the money during the time it takes us lo
complete our investigation.

Preauthorized if you have arranged to have direct deposits mace to your account at least once every 60 days from the same person or company, you can call us at

Credits (800) 453-8700 during normal business heurs to find out whether or not the deposit has heen made.

 

MGMC {Rev. 06/2018)
Case:20-01947-jwb © Doc #:315-3

  

Statement Ending Balance
Deposits in Transit
Outstanding Checks and Charges

Adjusted Bank Balance

Book Balance
Adjustments*

Adjusted Book Balance

Total Checks and Charges Cleared

Deposits
iNarns

   

General Ledger Entry M4 Ci waa
General Ledger Entry Rave QRH cRO

General Ledger Entry Tri County Bev@]jgB HCRO

General Ledger Entry Fabiano (mM HCRO

General Ledger Entry POSTMATES ENTRY FEE

General Ledger Entry Powers Dig HCRO

General Ledger Entry Imperiale HCRO

General Ledger Entry H#CRO RETURNED ITEM, UNCOLLECTED FUNDS, ACCIDENT FUND
General Ledger Entry HCRO RETURNED ITEM, UNCOLLECTED FUNDS, ACCIDENT FUND
General Ledger Entry Interco CASH

Total Deposits

Checks and Charges

5

‘General Leder Entry Interco CASH
General Ledger Entry Interco CASH
General Ledger Entry Interco CASH
General Ledger Entry WorldPay Monthly Charges - P6 2020
General Ledger Entry Vantiv Monthly Charges - P6 2020

General Ledger Entry Mercantile Monthly Bank Charges - P6 2020
Total Checks and Charges

9,702.06 Total Deposits Cleared

06/01/2020
06/02/2020
06/02/2020
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06/03/2020
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06/03/2020
06/04/2020
06/04/2020

06/15/2020

06/01/2020
06/02/2020
06/03/2020
06/05/2020
06/05/2020
06/16/2020

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eft. 17.50
57.95

eft 68.05

9,702.06

 

4,237.00

4,591.55
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eft 17.50
eft 68.05

9,702.06

Filed: 09/16/2020 Page 3 of 57

 

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0.00
MGMCSTMTN 200701 -18339-0001

Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 4 of 57

$610 Byron Genier Ave, BW
Wyoming, Ml 49619

 

: ee. Return Service Requested Page: 4 of 1
bib e Statement Date: 06/30/2020
Mercantile Eye 07001 Primary Account: XXXXXX8664

Documents: 0

Period: 05/29/20 to 06/30/20

E
HOPCAT-MINNEAPOLIS, LLC <T> 30-0
35 OAKES ST SW STE 400 0
GRAND RAPIDS, MI 49503 0

COMMERCIAL ANALYSIS CHECKING ACCOUNT

Be

Account: XXXXXX8664

  
     

Eg

143.51 (4)

 
  

05/29/20 0.00 06/30/20 0.00 143.51 (4)

 

 

Date Description Amount
06/01 Postmates Inc. Postmates St-\(REBE- 0.01
06/05 Returned Item, Insufficient Funds, Mthchgs Worldpay Merch Bankcard §MNRBHo 57.95
06/08 Returned Item, Insufficient Funds, Billng Vantiv_intg_pymt Merch Bankcarciiiaaaag, 17.50
06/15 Transfer From Comi Analysis Ck Account Sai 68.05

    

Date Description

; Amount
06/01 Transfer To Comi Analysis Ck Account Si? 0.01
06/04 Mihchgs Worldpay Merch Bankcar(iliEPHopcat Minny 57.95
06/05 Billng Vantiv_intq_pymt Merch Bankcar NIM Hopcat Minneapolis 17.50
06/15 Commercial Service Charge 68.05

 
     

~ Date ~ Balance " Date Balance Date Balance
06/01 : ‘06/05 17.50- 06/15

06/04 57.95- 06/08
k

Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 5 of 57

THIS FORM IS PROVIDED TO HELP YOU BALANCE YOUR STATEMENT. BEFORE YOU START —

PLEASE BE SURE YOU HAVE ENTERED IN YOUR REGISTER ALL AUTO-
MATIC TRANSACTIONS SHOWN ON THE FRONT OF YOUR STATEMENT.

OUTSTANDING
CHECKS OR WITHDRAWALS

 

 

 

 

 

 

YOU SHOULD HAVE ADDED YOU SHOULD HAVE SUBTRACTED NO, AMOUNT
IF ANY OCCURRED: IF ANY OCCURRED:
1. Loan advances. 1. Automatic loan payments.
2. Credit memos. 2, Automatic savings transfers.
3. Other automatic deposits, 3. Service charges,
4. Interest. 4. Debit memas.
5. ATM or debit card withdrawals.
6, Other automatic deductions and payments
BALANCE SHOWN
ON THIS STATEMENT = $
ADD
DEPOSITS NOT SHOWN
ON THIS STATEMENT
GFANY) S$
TOTAL S$
SUBTRACT —
CHECKS OR WITHDRAWALS
OUTSTANDING $_
BALANCE S$
SHOULD AGREE WITH YOUR REGISTER
BALANCE AFTER DEDUCTING SERVICE CHARGE
(IF ANY) SHOWN ON THIS STATEMENT.
IMPORTANT Please examine this statement immediately. We will assume that the balances it shows are correct unless you notify us of any
disagreement within 60 days. :
How Finance if this statement includes billing information regarding a personal line of credit, the finance charge for each staiem ent (loan} period is calculated by applying the
Charge (if Any) applicable daily periodic rate(s) to the daily balances, periodic rates may vary. To gel daily balances, we take the beginning balance of your account each day,
Calculated add any new loans or charges and subtract any payments or credits. Then, we multiply the daily balance each day of the statement period by the applicable datiy
Periodic rate(s). We than acid up all of these daily finance charges to get your total finance charge. If there is only one (1) daily periodic rate during the statement
period, the finance charge may also be varified by multiplying the average daily balance by the number of daysin the statement period and multiplying the result
by the applicable dally periodic rate. Payments received dunng regular banking hours at our office will be credited on the same benking day. Payments received
after the regular banking hours will be credited on the next banking day.
In Case Of If you think your statement is wrong, or you need more information about a transaction on your statement, write us at PO Box 1029, Alma, Ml 48801-1029
Errors Or a8 soon as possible. We must hear from you no later than 60 days after we sent you the first statement on which the error appeared. You can telephone us
Questions at (800} 453-8700 but doing so will not preserve your rights.
About Your in your letter, give Lis the following information:
Personal 1. Your name and account number.
Line of Credit 2. The dollar amount of suspected error.
(This is a 3. Describe the error and explain, if you can, why you believe there is an errar. If you need mere information, descnbe the
Summary of item you are unsure about.
Your Biffing . , . : ni . . ; . .
Right You do not have to pay any amount in question white we are investigating, but you are ull obligated to pay the parts of your bill that are not in question. While
lights) we investigate your question, we cannot report you as delinquent or take any action to collect the amount you question. If you have authorized us to pay your
minimum monthly payment automatically by charging your deposit account with us, you can stop the payment on any amount you think is wrong. To stop the
payment, your latter must reach us three business days before the automatic payment is scheduled to occur
in Gase Of Please telephone us at (800} 453-8700 or write us at RO. Box 1029, Alma, Ml 48801-1029 as soon as you can, if you think your statement or receipt is
Errors Or wrong, or if you need more information about a ansfer on this statement or on a receipt. We must hear from you no later than 60 days after we sent you the
Questions FIAST statement on which the probtem or error appeared.
About . 1. Tellus your name and account number.
Electronic 2. Describe the error or transfer you are unsure about, and explain as clearly ag you can why you believe there is an error or why you need
Transfers more information.
3. Tall us the dollar amount of the suspected enor.
We will investigate your complaint and correct any error prompily. If we take more than 10 business days (20 days from point-of-sale or foreign debit card
transactions) to do tus, we will recredit your account fer the amount you think is in-error, so that you will have use of the money dunng the time rt takes us to
complete our investigation,
Preauthorized if you have arranged to have direct deposits mace to your account at least once every 60 days from. the same person or company, you can call us at
Credits (800) 453-8700 during normal business hours to find out whether or not the deposit has been made.

 

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MGMC (Rev. 06/2018)
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 6 of 57

   

Statement Ending Balance

0.00

Deposits in Transit 0.00
Outstanding Checks and Charges 0,00
Adjusted Bank Balance 0.00
Book Balance 0.00
Adjustments* 0.00
Adjusted Book Balance 0.00
Total Checks and Charges Cleared 143.51 Total Deposits Cleared 143.51

Deposits

   
     

Genera! Ledger Entry Postmates Entry "96/03/2020 0.04
General Ledger Entry HCMN RETURNED [TEM, UNCOLLECTED FUNDS, ACCIDENT FUND 06/05/2020 eft 57.95
General Ledger Entry HCMN RETURNED ITEM, UNCOLLECTED FUNDS, ACCIDENT FUND 06/06/2020 eft 17.50
General Ledger Entry Interco CASH 06/15/2020 eft 68.05

Total Deposits

143.51 0.00

  
  
    

‘General Ledger Entry Inte ASH 06/01/2020 0.01
General Ledger Entry WorldPay Monthly Charges - P6 2020 06/05/2020 eft 57.95
General Ledger Entry Vantiv Monthly Charges - P6 2020 06/05/2020 eft 17.50
General Ledger Entry Mercantile Monthly Bank Charges - P6 2020 06/16/2020 eft 68.05

Deen
Total Checks and Charges 143.51 0.00
MGMCSTMTN 200701-19626-0001

 

Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020

§610 Byron Genter Ave. SW
Wyoming, Mi 49519

Return Service Requested

 

Mercantile

COMMERCIAL ANALYSIS CHECKING ACCOUNT

Burk. of Michigan (ae 07001

Page 7 of 57°

Page: 1 of 3
Statement Date: 06/30/2020
Primary Account: XXXXXX0488
Documents: 0

Period: 05/29/20 to 06/30/20

E
HOPCAT - GR BELTLINE, LLC <T> 30-0
35 OAKES ST SW STE 400 0
GRAND RAPIDS, MI 49503 0

06/30/20

 

 

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Returned Item, Uncollected Funds, Billng Vantiv_intg_pymt Merch Bankcareaiaaiaaay
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Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 8 of 57

THIS FORM IS PROVIDED TO HELP YOU BALANCE YOUR STATEMENT. BEFORE YOU START —

PLEASE BE SURE YOU HAVE ENTERED IN YOUR REGISTER ALL AUTO- OUTSTANDING
MATIC TRANSACTIONS SHOWN ON THE FRONT OF YOUR STATEMENT. . CHECKS OR WITHDRAWALS
YOU SHOULD HAVE ADDED YOU SHOULD HAVE SUBTRACTED NO. AMOUNT
IF ANY OCCURRED: IF ANY OCCURRED:

7. Loan advances.

2. Gredit memos.

8. Other automatic deposits.
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Interest.

1. Automatic loan payments.

 

2. Automatic savings transfers.
3. Service charges.
4. Debit memos.
5. ATM or debit card withdrawals.
6. Other automatic deductions and payments
BALANCE SHOWN
ON THIS STATEMENT = $
ADD
DEPOSITS NOT SHOWN
ON THIS STATEMENT
GF ANY) 8
TOTAL $
SUBTRACT —
CHECKS OR WITHDRAWALS
OUTSTANDING $
BALANCE $

SHOULD AGREE WITH YOUR REGISTER
BALANCE AFTER DEDUCTING SERVICE GHARGE
(iF ANY) SHOWN ON THIS STATEMENT.

 

 

 

 

 

IMPORTANT Please examine this statement immediately. We will assume that the balances it shows are correct unless you notify us of any
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Charge (if Any} applicable daily periodic rate(s) to the daily balances, penocic rates may vary. To gel daily balances, we take the beginning balance of your account each day,
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Questions at (800) 453-8700 but doing so will nat preserve your rights.
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(This is a 3. Describe the error and explain, if you cen, why you believe there is an error, If you need more information, describe the
Summary of item you are unsure about.
Your Bilfing : . F . . . . . | 5
Rights You do not have to pay any amount in question while we are Investigating, but you are sull obligated to pay the parts of your bili that are not in question. While
ights) we investigate your question, we cannot report you as delinquent or take any action to collect the amount you question. If you have authorized us to pay your
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Questions FIRST statement on which the problem or error appeared.
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Electronic 2. Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe thare is an error or why you need
Transfers more information. .
8. Tell us the dollar amount of the suspectec! errer.
We will investigate your complaint and correct any error promptly. if we take more than 10 business days (20 days from point-of-sale or foreign debit card
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complete our investigation.
’ Preautherized lf you have arranged to have direct deposits made to your account at feast once every 60 days from the same person or company, you can call us at
Credits (800) 453-8700 during norma business hours te find out whether or nat the deposit has been mace.

 

MGMC (Rev, 06/2018}
MGMCSTMTN 200701-18626-0002

 

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Mercantile

Bark of Michigan

 
 
 
  
 

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HOPCAT - GR BELTLINE, LLC
35 OAKES ST SW STE 400
GRAND RAPIDS, MI 49503

we

Page: 2 of 3
Statement Date: 06/30/2020
Primary Account: XXXXXX0488

   

Amount
1,025.54
1,494.79
52.68
368.06
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1,172.05
1,178.21
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235.70
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5,324.53
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MGMCSTMTN 200701-19626-0003

Case:20-01947-jwo Doc #:315-3 Filed: 09/16/2020

HOPCAT - GR BELTLINE, LLC
35 OAKES ST SW STE 400
GRAND RAPIDS, MI 49503

 
  

Mercantile

Sank of Michigan

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06/29 American Express Settlement XXXXXX9205
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06/29 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term
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06/30 American Express Settlement XXXXXX9205
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06/30 Comb. Dep. Worldpay Worldpay Comb. Dep. Ter Tia.

  

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06/03 Transfer To Coml Analysis Ck Account
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06/04 Transfer To Com! Analysis Ck Account
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06/02 Transfer To Coml Analysis Ck Account
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06/15 Commercial Service Charge
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06/05 2,574.17 06/16
06/08 15,054.00 06/17
06/09 06/18
06/10 06/19

Page 10 of 57

Page:

3 of 3

Statement Date: 06/30/2020

Primary Account: XXXXXX0488

opcat Knapps Corner - Ecomm

 
 
 
 
  

Amount
627.45
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1,164.48
6,092.62
6,587.01
9,103.61
172.78
183.98
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4,072.08

 
  
  
  
   
  
  
   
 

Amount
0.01
1,345.09
37.95
1,888.21
17.50
17,714.40
3,214.92
4,639.49
2,653.27
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22,187.08
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Balance
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 11 of 57

   

Statement Ending Balance : ~~ —— — ~ 0.00
Deposits in Transit 26,311.66
Outstanding Checks and Charges 0.00

Adjusted Bank Balance 26,311.66

Book Balance 26,311.66
Adjustments* 0.00

Adjusted Book Balance 26,311.66

  

Total Checks and Charges Cleared

SEUSS ESRI
WORLD PAY - OLO AMEX

137,557.60 Total Deposits Cleared

 

06/02/2020 24.91
General Ledger Entry AMEX 06/02/2020 94.77
General Ledger Entry WORLDPAY 06/02/2020 706.72
General Ledger Entry WORLD PAY - OLO TENDER 06/02/2020 840.76
General Ledger Entry POSTMATES ENTRY FEE 06/03/2020 0.01
General Ledger Entry WORLDPAY 06/03/2020 1,006.69
General Ledger Entry WORLD PAY - OLO TENDER 06/03/2020 2,021.06
General Ledger Entry WORLD:PAY - OLO AMEX 06/03/2020 81.94
General Ledger Entry Unknown AMEX Variance HCBEL 06/04/2020 eft 77.12
General Ledger Entry WORLDPAY 06/04/2020 507.57
General Ledger Entry WORLD PAY - OLO TENDER 06/04/2020 2,359.84
General Ledger Entry AMEX 06/04/2020 34.10
General Ledger Entry WORLD PAY - OLO AMEX 06/04/2020 213.57
General Ledger Entry Unknown AMEX Variance HCBEL 06/05/2020 eft 0.18
General Ledger Entry WORLD PAY - OLO TENDER 06/05/2020 4,306.51
General Ledger Entry WORLD PAY - OLO AMEX 06/05/2020 288.31
General Ledger Entry WORLDPAY 06/05/2020 879.12
General Ledger Entry » AMEX 06/05/2020 66.18
General Ledger Entry HCBEL RETURNED ITEM, UNCOLLECTED FUNDS, ACCIDENT FUNE 06/06/2020 eft 17.50
General Ledger Entry WORLDPAY 06/06/2020 1,095.04
General Ledger Entry WORLD PAY - OLO TENDER 06/06/2020 2,729.34
General Ledger Entry AMEX 06/06/2020 81.49
General Ledger Entry WORLD PAY - OLO AMEX 06/06/2020 199.74
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020

General Ledger Entry
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WORLD PAY - OLO TENDER
Postmates Sales HCBEL 6.09.20
AMEX

Unknown WORLDPAY Variance HCBEL
AMEX

WORLD PAY - OLO TENDER
WORLDPAY

DoorDash Sales HCBEL 6.10.20
Unknown AMEX Variance HCBEL.
Unknown AMEX Variance HCBEL
DoorDash Sales HCBEL 6.11.20
AMEX

WORLDPAY

WORLD PAY ~- OLO TENDER
WORLD PAY - OLO AMEX
Alliance 3691567 HCBL
Unknown AMEX Variance HCBEL
DoorDash Sales HCBEL 6.12.20
AMEX

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WORLD PAY - OLO TENDER
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DoorDash Sales HCBEL 6.15.20

DoorDash Sales HCBEL 6.16.20

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Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020

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Postmates Sales HCBEL 6.16.20
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WORLD PAY - OLO TENDER
DoorDash Sales HCBEL 6.17.20
Unknown AMEX Variance HCBEL
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DoorDash Sales HCBEL 6.18.20
WORLD PAY. - OLO TENDER
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DoorDash Sales HCBEL 6.19.20
WORLD PAY - OLO TENDER
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DoorDash Saies HCBEL 6.22.20
WORLD PAY - OLO AMEX

WORLD PAY ~ OLO TENDER
DoorDash Sales HCBEL 6.23.20
Postmates Sales HCBEL 6.23.20
WORLDPAY

WORLD PAY - OLO TENDER
AMEX

DoorDash Sales HCBEL 6.24.20
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WORLD PAY ~- OLO TENDER
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DoorDash Sales HCBEL 6.25.20

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Page 13 of 57

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Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 14 of 57

General Ledger Entry
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Checks and Charges

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WORLD PAY - OLO TENDER
Henry Fox 848170 HCBL
DoorDash Sales HCBEL 6.26.20
AMEX

WORLD PAY - OLO AMEX
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WORLD PAY - OLO TENDER
WORLD PAY - OLO AMEX

WORLDPAY

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Vantiv Monthly Charges - P6 2020
WorldPay Monthly Charges - P6 2020
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Unknown WORLDPAY Variance HCBEL

Alliance Beverage Distributing LLC

West Side Beer Distributing

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Case:20-01947-jwb Doc #:315-3

General Ledger Entry
General Ledger Entry
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Imperial Beverage

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Mercantile Monthly Bank Charges - P6 2020

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Positive Solutions Support - Monthly Transaction P6
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Alliance Beverage Distributing LLC

General Ledger Entry
General Ledger Entry

General Ledger Entry

Interco CASH
Unknown AMEX Variance HCBEL

Interco CASH

Alliance Beverage Distributing LLC

Imperial Beverage

General Ledger Entry

Total Checks and Charges

Interco CASH

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Filed: 09/16/2020 Page 15 of 57>

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Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020

8610 Byron Geniar Ave. BW
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Return Service Requested

 

Mercantile

Burk of Michtgan Fae 07001

Page 16 of 57

Page: 1 of 3
Statement Date: 06/30/2020
Primary Account: XXXXXX0451
Documents: 0

Period: 05/29/20 to 06/30/20

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HOPCAT - HOLLAND, LLC <T> 30-0
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GRAND RAPIDS, MI 49503 0

06/30/20

Account: XXXXXX0451

 

 

  

Date Description

  
 

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06/10 Unauthorized Transaction Barfly Ventures Ach Notification Decisioned By Dwilliso
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06/15 American Express Settlement XXXXXX2107

06/15 Comb. Dep. 5/3 Bankcard Sys Worldpay Comb. Dep. Term

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06/15 Doordash, Inc. West 8th S St Joe

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THIS FORM IS PROVIDED TO HELP YOU BALANCE YOUR STATEMENT. BEFORE YOU START —

PLEASE BE SURE YOU HAVE ENTERED IN YOUR REGISTER ALL AUTO- OUTSTANDING
CHECKS OR WITHDRAWALS

MATIC TRANSACTIONS SHOWN ON THE FRONT OF YOUR STATEMENT.

YOU SHOULD HAVE ADDED YOU SHOULD HAVE SUBTRACTED NO. AMOUNT

IF ANY OCCURRED:

1. Loan advances.

2. ‘Credit memos.

3. Other automatic deposits.
4

Interest.

IF ANY OCCURRED:

Automatic loan payments.

Automatic savings transfers.

Service charges.

Debit memas.

ATM or debit card withdrawals,

Other automatic deductions and payments

OORONs

BALANCE SHOWN
ON THIS STATEMENT = &

DEPOSITS NOT SHOWN
ON THIS STATEMENT
gFany

TOTAL $
SUBTRACT -

CHECKS OR WITHDRAWALS
OUTSTANDING $

 

BALANCE $

SHOULD AGREE WITH YOUR REGISTER
BALANCE AFTER DEDUCTING SERVICE CHARGE
(IF ANY) SHOWN ON THIS STATEMENT.

 

 

 

 

 

IMPORTANT Please examine this statement immediately. We will assume that the balances it shows are correct unless’ you notify us of any
disagreement within 60 days.

How Finance If this statement includes biting information regarding a personal line of credit, the firrance charge for each statern ent {loan} period 1s calculated by applying the

Charge (if Any) applicable daily periodic rate(s) to the daily balances, periodic rates may vary. To get daily balarices, we take the beginning balance of your aecount each day,

Calculated add any new loans or charges and subtract any payments or credits. Then, we multiply the clily balance each day of the statement period by the applicable daily
periodic rate(s). We than acid up all of these daily finance charges to get your total finance charge. If there is only one (1) daily periocic rate during the statement
period, the finance charge may also be verified by multiplying the average daily balance by the number of days in the statement period and multiplying the result
by the applicable daly periodic rate. Payments received dunng regular banking hours at our office will be credited on the same banking day. Payments received
after the regular banking hours will be credited on the next banking day.

In Case OF If you think your statement is wrong, or you nead more information about a transaction on your statement, write us at PO Box 1029, Alma, Ml 48801-1029

Errors Or a8 s00n as possible. We must hear from you no later than 60 days after we sent you the first statement on which the error appeared. You can telephorie us.

Questions at (800) 453-8700 but doing so will nat preserve your rights.

About Your In your letter, give us the following information:

Personal 1, ‘Your name and account number.

Line of Credit 2, The dollar amount of suspected error.

(Thisiaa 3. Describe the error and expiain, if you can, why you believe there is an errar. If you need more information, describe the

Summary of item you are unsure about.

Your Billing . 5 . . . . . . .

Rights! You do not have to pay any amount in question while we are investigating, but you are still obligated to pay the parts of your bill that are not in question. While

lights) we investigate your question, we cannot remort you as delinquent or take any action to collect the amount you question. If you have authorized us to pay your

minimum monthly payment automatically by charging your deposit account with us, you can stop the payment on any amount you think is wrong. To stop the
payment, your letter must reach us three business days before the automatic payment is scheduled to occur

in Case OF Please telephone us at (800) 453-8700 or write us at P.O. Box 1029, Alma, MI 48801-1029 as soon as you can, if you think your statement or receipt is

Errors Or wrong, or if you need more information about a transfer on this statement or on a receipt. We must hear from you no later than 60 days after we sent you the

Questions FIRST statement on which the problem or error appeared.

About — 1 Tell us your name and account number.

Electronic 2. Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you need

Transfers more information

3. Tell us the dollar amount of the suspected enor,

We will investigate your complaint and correct any error promptly. If we take more than 10 business days (20 days from point-of-sale or foreign debit card
transactions) to do this, we will recredit your account for the amount you think is in error, so that you will have use of the money curing the time :t takes us to
complete our investigation.

Preauthorized If you have arranged to have direct deposits made to your account at least once every 60 days from the same person or compeny, you can call us at

Credits (800) 453-8700 during noma business hours to find out whether or not the deposit has been made.

 

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MGMC (Rev. 06/2018)
MGMCSTMTN 200701-19625-0002

Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 18 of 57

 

HOPCAT - HOLLAND, LLC
35 OAKES ST SW STE 400
GRAND RAPIDS, MI 49503

Mercantile

Bars. of Michigan

 
 

Description

 
 

Mervenne Beverag Fintecheft XX-XXX7132
Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard C
Comb. Dep. 5/3 Bankcard Sys Worldpay Comi
American Express Settlement XXXXXX2107
Doordash, Inc. West 8th S St-X@qaiias
Comb. Dep. 5/3 Bankcard Sys Worldpay Com!
American Express Settlement XXXXXX2107
Comb. Dep. 5/3 Bankcard Sys Woridpay Com
Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard C
Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard C
Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard C
Postmates Inc. @@jPJun 1S

American Express Settlement XXXXXX2107
Comb. Dep. 5/3 Bankcard Sys Worldpay Comi
Doordash, Inc. West 8th S StOaeUaaage
Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard C
American Express Settlement XXXXXX2107
Doordash, Inc. West 8th S S
Comb. Dep. 5/3 Bankcard Sys Worldpay Com!
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American Express Settlement XXXXXX2107
Doordash, Inc. West 8th S St-M1y6x5r1i9b0
Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard C
American Express Settlement XXXXXX2107
Doordash, Inc. West 8th S S:

Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard C
American Express Settlement XXXXXX2107
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Doordash, Inc. West 8th S

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Postmates Inc. 1250 Jun 2 St-EQe0v6q19q3d4_
Comb. Dep. 5/3 Bankcard Sys Worldpay Con
American Express Settlergent XXXXXX2107
Doordash, Inc. West sth aa
Comb. Dep. 5/3 Bankcard Sys 5/3 Bankcard :

 

Description
Transfer To Com! Analysis Ck Account él,
Billng Vantiv_intg_pymt Merch Bankcard Jie
Fifth Third Ach Mps Billing

Transfer To Coml Analysis Ck Account
Transfer To Comi Analysis Ck Account
Transfer To Comi Analysis Ck Account
Transfer To Comi Analysis Ck Account
Commercial Service Charge

Transfer To Coml Analysis Ck Account igi
L.h.s. Dist. Co. Fintecheft XX-XXX7132
Alliance Beverag Fintecheft XX-XXX7132
Transfer To Coml.Analysis Ck Account
Transfer To Coml Analysis Ck Account
Imperial Beverag Fintecheft XX-XXX7132

   
  

 

Page:
Statement Date:

Primary Account:

2 of 3
06/30/2020
XXXXXX0451

 

Amount
210.00
1,227.02
10.60
82.86
329.33
363.51
468.77
495.30
3,367.28
4,881.50
5,031.33
215.90
239.16
373.93
909.74
2,631.35
151.93
562.96
662.26
3,039.50
130.92
149.14
666.29
3,454.29
129.42
698.31
3,868.38
178.83
236.67
285.27
345.41
380.03
461.41
3,307.93
3,854.38
5,730.93
82.24
245.14
526.98 .
929.51
2,457.88

 

Amount
0.01
17.50
29.95
209.75
171.06
632.18
1,301.73
67.30
16,688.05
316.00
1,363.00
4,081.55
1,424.28
2,245.00
MGMCSTMTN 200701 -19625-0003

Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 19 of 57

sie ats pace as
GRAND RAPIDS, Ml 49503 Statement Date: 06/30/2020
Primary Account: XXXXXX0451

 
  

Mercantile

Sank of Michigart

   
   
 
  
  
   
 
 

ate Description _ Amount
06/18 Transfer To Coml Analysis Ck Account , 3,716.29
06/19 Transfer To Coml Analysis Ck Account 1,543.64
06/22 Waypost Brewing Fintecheft XX-XXX7132 252.00
06/22 Transfer To Coml Analysis Ck Account gaa, 14,778.48
06/23 Alliance Beverag Fintecheft XX-XXX7132 . 536.45
06/23 Transfer To Coml Analysis Ck Account 3,833.63
06/24 Transfer To Coml Analysis Ck Accou 4,416.65
06/25 Transfer To Coml Analysis Ck Account 4,400.64
06/26 Transfer To Coml Analysis Ck Account 4,696.11
06/29 Transfer To Com! Analysis Ck Account 14,780.86
06/30 Transfer To Coml Analysis Ck Account 4,241.75

 

 

Date Balance Date Balance Date Balance
06/01 06/15 06/24

06/05 17.50- 06/16 06/25

06/08 06/17 06/26

06/09 06/18 06/29

06/10 06/19 06/30

06/11 06/22

06/12 06/23
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 20 of 57

   

 

Statement En ing Balance 0.00
Deposits in Transit 15,586.90
Outstanding Checks and Charges -44.00
Adjusted Bank Balance "5,542.90.
Book Balance 15,542.90
Adjustments* 0.00
Adjusted Book Balance “15,542.90

 
 

 

SSAC iad BENE: 8
General Ledger Entry

Total Checks and Charges Cleared

 
 
 

   

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POSTMATES ENTRY FEE

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66,867.68 Total Deposits Cleared

  
        

06/03/2020 0.01
General Ledger Entry WORLD PAY - OLO AMEX 06/08/2020 50.88
General Ledger Entry WORLD PAY - OLO TENDER 06/08/2020 246.21
General Ledger Entry WORLDPAY 06/08/2020 239.70
General Ledger Entry WORLD PAY - OLO AMEX 06/09/2020 60.69
General Ledger Entry WORLDPAY 06/09/2020 92,12
General Ledger Entry WORLD PAY - OLO TENDER 06/09/2020 909.53
General Ledger Entry WORLD PAY - OLO TENDER 06/10/2020 356.98
General Ledger Entry WORLD PAY - OLO AMEX 06/10/2020 64.93
General Ledger Entry WORLDPAY 06/10/2020 327.36
General Ledger Entry WORLD PAY - OLO TENDER 06/11/2020 252.84
General Ledger Entry WORLDPAY 06/11/2020 416.88
General Ledger Entry Unknown AMEX Variance HCHOL 06/12/2020 eft 1.82
General Ledger Entry WORLD PAY ~- OLO AMEX 06/12/2020 45.85
General Ledger Entry WORLD PAY - OLO TENDER 06/12/2020 983.19
General Ledger Entry WORLDPAY 06/12/2020 389.07
General Ledger Entry Unknown AMEX Variance HCHOL 06/13/2020 eft - 0.19
General Ledger Entry WORLDPAY 06/13/2020 7,813.37
General Ledger Entry WORLD PAY - OLO TENDER 06/13/2020 1,145.38
General Ledger Entry WORLD PAY - OLO AMEX 06/13/2020 25.18
General Ledger Entry AMEX 06/13/2020 652.81
Generali Ledger Entry WORLDPAY 06/14/2020 5,757.72
General Ledger Entry AMEX 06/14/2020 121.92
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General Ledger Entry
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WORLD PAY - OLO TENDER
DoorDash Sales HCHOL 6.15.20
AMEX

WORLD PAY - OLO TENDER
WORLDPAY

DoorDash Sales HCHOL 6.16.20
WORLDPAY

WORLD PAY - OLO TENDER
Postmates Sales HCHOL 6.16.20
AMEX

WORLDPAY

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WORLD PAY - OLO TENDER
Unknown WORLDPAY Variance HCHOL
AMEX

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WORLD PAY - OLO TENDER
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Mervenne 10351359 HCHL
WORLD PAY - OLO TENDER
AMEX

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WORLD PAY - OLO TENDER
AMEX

DoorDash Sales HCHOL 6.22.20

_ WORLD PAY - OLO TENDER

WORLDPAY
DoorDash Sales HCHOL 6.23.20
Postmates Sales HCHOL 6.23.20

AMEX

_ WORLDPAY

AMEX

WORLD PAY - OLO TENDER
DoorDash Sales HCHOL 6.24.20
WORLDPAY

WORLD PAY - OLO TENDER
DoorDash Sales HCHOL 6.25.20
WORLD PAY - OLO AMEX

AMEX

06/14/2020
06/15/2020
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09/16/2020 Page 21 of 57

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528.01
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130.92
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Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 22 of 57

General Ledger Entry
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Checks and Charges

WORLDPAY

AMEX

DoorDash Sales HCHOL 6.26.20
WORLDPAY

WORLD PAY - OLO TENDER
AMEX

WORLD PAY ~- OLO TENDER
WORLDPAY

WORLD PAY - OLO TENDER
AMEX

WORLDPAY

WORLD PAY - OLO AMEX

Interco CASH

Vantiv Monthly Charges - P6 2020
WorldPay Monthly Charges - P6 2020
Interco CASH

Interco CASH

Unknown AMEX Variance HCHOL
Interco CASH

Unknown WORLDPAY Variance HCHOL
Unknown WORLDPAY Variance HCHOL.
Interco CASH

Interco CASH

Alliance Beverage Distributing LLC

THS Distributing
General Ledger Entry
General Ledger Entry
General Ledger Entry
Imperial Beverage
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General Ledger Entry

Unknown AMEX Variance HCHOL

Interco CASH

Mercantile Monthly Bank Charges - P6 202:

Unknown AMEX Variance HCHOL
Interco CASH

Unknown WORLDPAY Variance HCHOL
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Unknown AMEX Variance HCHOL

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438.53
3,307.93
106.53

66,867.68 15,586.90

 

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eft 44.00

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eft 0.95
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 23 of 57

General Ledger Entry Unknown AMEX Variance HCHOL 06/18/2020 eft 7.23
General Ledger Entry Interco CASH 06/18/2020 eft 3,716.29
General Ledger Entry Unknown WORLDPAY Variance HCHOL 06/19/2020 eft 25.98
General Ledger Entry Interco CASH 06/19/2020 eft 1,543.64
Waypost Brewing Co. 06/22/2020 eft 252.00
General Ledger Entry Interco CASH 06/22/2020 eft 14,778.48
Alliance Beverage Distributing LLC 06/23/2020 eft 536.45
General Ledger Entry Interco CASH 06/23/2020 eft 3,833.63
General Ledger Entry Interco CASH. 06/24/2020 eft 4,416.65
General Ledger Entry Interco CASH 06/25/2020 eft 4,400.64
General Ledger Entry - Amex - Unknown Variance HCHOL 06/25/2020 8.29
General Ledger Entry Interco CASH : 06/26/2020 eft 4,696.11

rr
Total Checks and Charges 66,867.68 44.00
MGMCSTMTN 200701-19706-0001

Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 24 of 57

$616 Byron Center Ave, SW
Wyoming, Ml 49519

 

Return Service Requested : Page: 1 of 2
. £8 nt Statement Date: 06/30/2020
Mercantile [ee 07001 Primary Account: XXXXXX4153
= Documents: 0

Period: 05/29/20 to 06/30/20

E
BARFLY VENTURES, LLC <T> 30-0
BARFLY SITE CHECKING 0
35 OAKES ST SW STE 400 0

GRAND RAPIDS, MI 49503

COMMERCIAL ANALYSIS CHECKING ACCOUNT

Account: XXXXXX4153
_ -

   
 
 

    

 

05/29/20 30,027.73 06/30/20 42,298.40 185,252.27 (5) 172,981.60 (22)

 

   
  
 
  
  
  
 
  
 
  

     

ate

 

D Description Amount
06/03 Internet Transfer From Comi Analysis Ck n 6/03/20 At 13:38 : 5,252.27
06/15 Internet Transfer From Coml Analysis Ck On 6/15/20 At 13:54 25,000.00
06/16 Internet Transfer From Com! Analysis Ck On 6/16/20 At 14:06 35,000.00
06/23 Internet Transfer From Com! Analysis Ck On 6/23/20 At 13:03 60,000.00
06/30 Internet Transfer From Comi Analysis Civ n 6/30/20 At 8:25 60,000.00

 

 

 

Date Check No Amount Date Check No Amount Date Check No Amount
06/01 524 280.00 06/17 648 * 172.00 06/23 1721 172.00
06/15 525 * 330.00 06/15 1534 * 390.00

* Indicates a Gap in Check Number Sequence

 

ate Description Amount
06/11 Withdrawal 5,000.00
06/12 Withdrawal : 5,000.00
06/12 Withdrawal 5,000.00
06/12 Withdrawal 20,000.00
06/15 ‘Commercial Service Charge 12.60
06/15 Withdrawal . 9,437.00
06/16 Withdrawal 4,300.00
06/17 Withdrawal 7,000.00
06/19 Withdrawal 6,940.00
06/22 . Withdrawal : 5,000.00
06/22 Withdrawal 13,715.00
06/23 Withdrawal . 3,800.00
06/23 Withdrawal 10,651.00
06/26 Withdrawal 2,794.00

06/29 Withdrawal 22,956.00
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 25 of 57

MATIC TRANSACTIONS SHOWN ON THE FRONT OF YOUR STATEMENT.

THIS FORM IS PROVIDED TO HELP YOU BALANCE YOUR STATEMENT. BEFORE YOU START —

PLEASE BE SURE YOU HAVE ENTERED IN YOUR REGISTER ALL AUTO- OUTSTANDING
CHECKS OR WITHDRAWALS

 

YOU SHOULD HAVE ADDED YOU SHOULD HAVE SUBTRACTED = NO. AMOUNT
IF ANY OCCURRED: IF ANY OCCURRED:
1. Loan advances. 1. Autematic loan payments.
2. Credit memas. 2. Automatic savings transfers.
3. Other automatic deposits. 3. Service charges.
4. Interest. 4. Debit memos.
5, ATM or debit card withdrawals.
6, Other automatic deductions and payments
BALANCE SHOWN
ON THIS STATEMENT =
ADD
DEPOSITS NOT SHOWN
ON THIS STATEMENT
(Fanyy $
TOTAL $
SUBTRACT —
CHECKS OR WITHDRAWALS
OUTSTANDING §$
" BALANCE $

SHOULD AGREE WITH YOUR REGISTER
BALANCE AFTER DEDUCTING SERVICE CHARGE
(IF ANY) SHOWN ON THIS STATEMENT.

 

 

 

 

 

IMPORTANT Please examine this statement immediately. We will assume that the balances it shows are correct unless you notify us of any
disagreement within 60 days.

How Finance It this statement includes billing information regarding a personal tine of credit, the finance charge for each statem ent (loan) period is calculated by applying the

Charge (if Any) applicable daily periodic rate(s) to the daily balances, periodic rates may vary To get daily balances, we take the beginning balance of your account each day,

Calculated add any new loans or charges and subtract any payments or credits. Then, we multiply the daily balance each day of the statement period by the applicable daily
periodic rate(s). We than add up all of these daily finance charges to get your total finance charge. if there is only one (1) daily periodic rate during the statement
period, the finance charge may also be verified by multiplying the average daily balance by the number of daysin the statament period and raultiplying the result
by the appticable daly periodic rate. Payments received dunng regula banking hours at our office will be credited on the same banking day. Payments recerved
after the regular banking hours will be credited on the next banking day.

fin Case Of If you think your statement is wrong, or you need more information about a transaction on your statement, write us at PO Box 1029, Alma, MI 48801-1029

Errors Or a8 soon as possible. We must hear from you no later than 60 days after we sent you the first statement on which the error appeared. You can telephone us.

Questions at (800} 453-8 700 but doing so will not preserve your rights.

About Your In your letter, give us the following information:

Personal 1. Your name and account number.

Line of Cradit 2. The collar amount of suspected error.

(This is a 3. Describe the error and explain, if you can. why you believe there is an error. If you need more information, describe the

Summary of item you are unsure about.

Your Billing ; . . - . . , .

. ‘You do not have to pay any amount in question while we are investigating, but you are suil obligated to pay the parts of your bill that are not in question. While

Rights) we investigate your question, we cannot report you as delinquent or take any action to collect the amount you question. If you have authorized us to pay your
minimum monthly payment automatically by charging your deposit account with us, you can stop the payment on any amount you think is wrong. To stop the
payment, your letter must reach us three business days before the automatic payment is scheduled to occur.

in Case OF Pisase telephone us at (800) 453-8700 or write us at RO. Box 1029, Alma, MI 48801-1029 as soon as you can, if you think your statement or receipt is

Errors Or wrong, or if you need more information aboul a transfer on this statement or on a receipt. We must hear from you no later than 60 days after we sent you the

Questions FIRST statement on which the problem or error appeared. .

About . 1 Teli us your name and account number.

Electronic 2. Describe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you need

Transfers more information.

3. Tell us the dollar arnount of the suspected ener.

We will investigate your complaint and correct any error promptly. If we take more than 10 business days (20 days from point-of-sale or foreign dabit card
transactions} to do this, we will recredit your account for the amount you think is in error, so that you will have use of the money during the time it takes us to
complete our investigation.

Preauthorized If you have arranged to have direct deposits made to your account at least once every 60 days from the same person or company, you can cail us at

Credits (800) 453-8700 during normal business hours to find out whether or nat the deposit has been made.

 

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MGMC (Rev. 06/2018}
MGMCSTMTN 200701-19706-0002

Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 26 of 57

 
 
 
 

BARFLY VENTURES, LLC Page: 2 of 2
eae or Stone Statement Date: 06/30/2020
GRAND RAPIDS, MI 49503 Primary Account: XXXXXX4153
Mercantile
Sank of Michigan

 

Date Description Amount
06/29 Intemet Transfer To Com! Analysis Ck SEE" On 6/29/20 At 8:32 50,000.00
06/30 Paid Nsf Item(S) Fee 32.00

 
     

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06/01 29,747.73 45,530.40 06/26 55,286.40
06/03 35,000.00 38,358.40 06/29 17,669.60-
06/11 30,000.00 31,418.40 06/30 42,298.40
06/12 12,703.40

06/15 14,830.40 58,080.40
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020

BarFly Ventures

Reconciliation Report

As Of 06/28/2020
Account: Mercantile Site Checking

Statement Ending Balance
Deposits in Transit

Outstanding Checks and Charges
Adjusted Bank Balance

Book Balance
Adjustments*
Adjusted Book Balance

Total Checks and 0.00
Charges Cleared
Deposits
Name Memo Date
General Ledger Entry _ Internet Transfer to 06/03/2020
COML ANALYSIS CK
on 6/03/20
at 13:38
General Ledger Entry Site Checking Transfer 06/15/2020
General Ledger Entry Site Checking Transfer 06/16/2020
Total Deposits
Checks and Charges
Name Memo Date
Feel Good Tap : 08/22/2018
Michigan State Univer- 01/25/2020
sity
Westport Regional Busi- 02/06/2020

ness League
Total Checks and Charges

Created on: 06/29/2020, 9:50 AM EST

Page 27 of 57

 

 

96,212.00
0.00
(554.00)
95,658.00
95,658.00
0.00
95,658.00
Total Deposits Cleared 65,252.27
Doc No Cleared in Transit
5,252.27
25,000.00
35,000.00
65,252.27 0.00
Check No Cleared Outstanding
289.00
15.00
=—_ 250.00
0.00 554.00

Page 1
MGMCSTMTN 200701-10485-0001

Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 28 of 57

§6106 Byron Genier Ave. SW
Wyoming, Mi49519

 

Return Service Requested Page: 1 of 1
we on poate TE ont ‘ Statement Date: 06/30/2020
Mercantile | bs o7001 Primary Account OAKXOBES

Period: 05/29/20 to 06/30/20

E
BARFLY VENTURES, LLC <T> 30-0
FSA CHECKING 0
35 OAKES ST SW STE 400 0

GRAND RAPIDS, MI 49503

COMMERCIAL ANALYSIS CHECKING ACCOUNT Account: XXXXXX0888

See:

06/30/20 . 227.00 (3) 227.00 (3)

 

 

  
 

   

 

Date Description Amount
06/11 Transfer From Coml Analysis Ck Accoun 70.00
06/15 Transfer From Coml Analysis Ck Account . 17.00
06/19 Transfer From Comt Analysis Ck Accoun 140.00

 

ate Description Amount
06/11 Infinisource Inc Claim Fund Sie 70.00
06/15 Commercial Service Charge 17.00
06/19 Infinisource Inc Claim Fund 140.00

a

  

 

a

 

Date Balance ate Balance
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 29:of 57

THIS FORM IS PROVIDED TO HELP YOU BALANCE YOUR STATEMENT. BEFORE YOU START —

 

PLEASE BE SURE YOU HAVE ENTERED IN YOUR REGISTER ALL AUTO- OUTSTANDING
MATIC TRANSACTIONS SHOWN ON THE FRONT OF YOUR STATEMENT. CHECKS OR WITHDRAWALS
YOU SHOULD HAVE ADDED YOU SHOULD HAVE SUBTRACTED NO. AMOUNT
IF ANY OCCURRED: IF ANY OCCURRED:
1. Loan advances. 1. Automatic loan payments.
2. Credit memos. 2. Automatic savings transfers.
3. Other automatic deposits. 3. Service charges.
4. Interest. 4. Debit memos.
5. AFM or debit card withdrawals.
6. Other automatic deductions and payments
BALANCE SHOWN
ON THIS STATEMENT $
ADD
DEPOSITS NOT SHOWN
ON THIS STATEMENT
(FAN &
TOTAL So
SUBTRACT —
CHECKS OR WITHDRAWALS
OUTSTANDING $0
BALANGE $

SHOULD AGREE WITH YOUR REGISTER
BALANCE AFTER DEDUCTING SERVICE CHARGE
(IF ANY) SHOWN ON THIS STATEMENT.

IMPORTANT Please examine this statement immediately. We will assume that the balances it shaws are correct unless you notify us of any
disagreement within 60 days.

 

How Finance I this statement includes billing information regarding a personal jine of credit, the finance charge for each statem ent (joan) period is calculated by applyirig Lhe
Charge (if Any) applicable daily periodic rate(s) to the daily balances, periodic rates may vary. To get daily balances, we take the beginning balance of your accourit each day,
Calculated add any new loans or charges and subtract any payments or credits. Then, wa multiply the daily balance each day of the statement period by the applicable daily

Periodic rate(s). We than add up all of these daily finance charges to get yaur total finance charge. if there is only one (1) daily periodic rate during the statement
period, the finance charge may also be varified by multiplying the average daily balance by the number of daysin the statement period and multiplying the result
by the applicable daly periodic rate, Payments received dunng regular banking hours at our office will be credited on the same benking day. Payments received
after the regular banking hours will be credited on the next banking day.

 

 

in Case Of If you think your statement is wrong, or you need more information about a trarisaction on your statement, write us atPO Box 1029, Alma, MI 48801-1029

Errors Or as soon as possible. We must hear from you no later than 60 days after we sent you the first statement on which the error appeared. You can telephorte us.

Questions . at (800) 453-8 700 but cloing so will nat preserve your rights.

About Your In your fetter, give Us the follawing information:

Personal 1. Your name and account number.

Line of Credit 2. The dollar amount of suspected error.

(This is a 3. Describe the error and explain, if you can, why you believe there is an errar. Ifyou need more information, describe the

Summary of item you are unsure about.

Your Billing . . . . . . . . .

. You do nat have to pay any amount in question while we are investigating, but you are slill obligated to pay the parts of your bili that are not in question. While

Rights) we investigate your question, we cannot report you as delinquent or take any action ta collect the amount you question. if you have authorized us to pay your
minimum monthly payment automatically by charging your deposit account with us, you can stop the payment on any amount you think is wrong. To stop the
payment, your letter must reach us three business days before the automatic payment is scheduled to occur

in Case Of Please telephone us at (800) 453-8700 or write us at PO, Box 1029, Alma, Ml 48801-1028 as soon as you can, if you think your statement or receipt is

Errors Or wrong, or if you need more information about a transfer on tis statement or on a feceipt. We must hear from you no later than 60 days alter we sent you the

Questions FIRST statement on which the problem or error appeared.

About . 1 Tell us your name and account number.

Elactronic

2. Describe the error or tanefer you are unsure about, and explain ag clearly as you can why you believe there ig an error or why you need
Transfers + * more information.

3. Tell us the dollar amount of the suspected error.

We will investigate your complaint and correct any error promptly. if we take more than 10 business days. (20 days from point-of-sale or foreign debit card
transactions) to.do this, we will recredit your account for the amourtt you think is in error, so that you will have use of the money during the time it takes us lo
complete our investigation.

 

Preauthorized If you have arranged to have direct deposits made to your account at least once every 60 days from the same person.or company, you can call us at
Credits (800) 453-8700 during normal business hours to find out whether or not the deposit has been made.
FDIé

NGMC (Rev. 06/2018}
Case:20-01947-jwb

  

s tement En ing Balance
Deposits in Transit
Outstanding Checks and Charges

Adjusted Bank Balance

Book Balance
Adjustments*

Adjusted Book Balance

Total Checks and Charges Cleared

Deposits
in

General Ledger Entry Interco CASH
General Ledger Entry Interco CASH
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General Ledger Entry Interco CASH
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Generai Ledger Entry Interco CASH
General Ledger Entry Interco CASH

General Ledger Entry Interco CASH

Doc #:315-3 Filed:

mE
03/02/2020
03/03/2020
03/04/2020
03/05/2020
93/06/2020
03/10/2020.
03/11/2020
03/13/2020
. 03/16/2020
03/17/2020
03/18/2020
03/19/2020
03/20/2020
03/23/2020
03/24/2020
03/25/2020
03/27/2020
04/01/2020 eft
04/02/2020 eft
04/03/2020 eft
04/07/2020 eft
04/08/2020 eft
04/10/2020 eft

227.00 Total Deposits Cleared

09/16/2020 Page 30 of 57

 

0.00

4,928.82
-4,928.82

0.00

 

0.00

0.00

6.00

227,00

    

140.00

12.75
461.00
292.00
109.25

19.15
285.00
200.00

26.14

21.00
140.00

11.25
366.26
256.00
306.00

8.00
290.00
202.50
207.50
139.80

76.00

48.00

450.00
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 31 of 57

General Ledger Entry Interco CASH | 04/13/2020 eft 60.00
General Ledger Entry Interco CASH 04/14/2020 eft . 640.77
General Ledger Entry Interco CASH 04/15/2020 eft 20.45
General Ledger Entry Interco CASH 04/16/2020 eft 140.00
General Ledger Entry Interco CASH 06/11/2020 eft 70.00
General Ledger Entry Interco CASH 06/15/2020 eft 17.00
General Ledger Entry Interco CASH : 06/19/2020 eft 140.00
Total Deposits "227.00 4,928.82.

 
  

Checks and Charges

 
  

  

General Ledger Entry Amount that will clear in March

03/01/2020 3,936.82
General Ledger Entry FSA ME Adjustment P5 2020 05/14/2020 992.00
General Ledger Entry FSA Separate Bank Charges P6 2020 06/16/2020 17.00
General Ledger Entry FSA ME Adjustment P6 2020 06/19/2020 140.00
General Ledger Entry FSA ME Adjustment P6 2020 06/19/2020 70.00

a
Total Checks and Charges . 227.00 4,928.82
MGMCSTMTN 200701-19733-0001

Case:20-01947-jwo Doc #:315-3 Filed

$610 Byron Genier Ave. SW
Wyoming, Ml 49519

 

Return Service Requested

Mercantile ca

Bark of Michigan ad 07001

BARFLY VENTURES, LLC
35 OAKES ST SW STE 400
GRAND RAPIDS, Mi 49503

BUSINESS MONEY MARKET ACCO

: 09/16/2020 Page 32 of 57
Page: 1 of 1
Statement Date: 06/30/2020
Primary Account: XXXXXX6311
Documents: 0
Period: 05/29/20 to 06/30/20
: E
<T> 30-0
“0
0

Account: XXXXXX6311

12.00 (1)

 

 

05/29/20 06/30/20
Minimum Balance 383.94
Avg Available Balance 383.94
Average Balance 383.94

  

Date Description
06/30 Interest

 

 

Date Description
06/30 Service Charge

   

Average Ledger Balance:

383.94
Average Available Balance: 383.94
Interest Paid This Period: .02
Interest Paid 2020: 888.93

ate Balance
371.96

Date

Balance

 

Interest Earned: .02
Days In Period: 32

Annual Percentage Yield Earned: 06%

   

Balance
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 33 of 57

THIS FORM IS PROVIDED TO HELP YOU BALANCE YOUR STATEMENT. BEFORE YOU START —

PLEASE BE SURE YOU HAVE ENTERED IN YOUR REGISTER ALL AUTO- OUTSTANDING
CHECKS OR WITHDRAWALS

MATIC TRANSACTIONS SHOWN ON THE FRONT OF YOUR STATEMENT.

YOU SHOULD HAVE ADDED YOU SHOULD HAVE SUBTRACTED NO. AMOUNT

IF ANY OCCURRED:

1. Loan advances.

2. Credit memos.

3. Other automatic deposits.
4,

Interest.

IF ANY OCCURRED:

. Automatic loan payments.

Automatic savings transfers.

Service charges.

Debit memas.

ATM or debit card withdrawals.

Other automatic deductions and payments

oe kena

BALANCE SHOWN
ON THIS STATEMENT = &

DEPOSITS NOT SHOWN
ON THIS STATEMENT
(F ANY) $

TOTAL $
SUBTRACT —

CHECKS OR WITHDRAWALS
OUTSTANDING $

 

BALANCE $

SHOULD AGREE WITH YOUR REGISTER
BALANCE AFTER DEDUGTING SERVICE CHARGE
(IF ANY) SHOWN ON THIS STATEMENT.

 

 

 

 

 

IMPORTANT Please examine this statement immediately. We will assume that the balances it shaws are correct unless you notify us of any
disagreement within 60 days.

How Finance if this statement includes billing inforrnaton regareing a personal line of crecit, the finance charge for each statern ent (loan) period is calculated by applying lhe

Charge (if Any) applicable daily periodic rate(s) to the daily balances, periodic rates may vary. To gel daily balances, we take ihe beginning balance of your account each day,

Calculated add any new loans or charges and subtract any payments or credits. Then, we multiply the caily balance each day of the statement period by the applicable daily
periodic rate(s). We than acid up all of these daily finance charges to get your total finance charge. If there is only one (1) daily periodic rate during the statement
period, the finance charge may also be verified by multiplying the average daily balance by the number of daysin the statement period and multiplying the resuit
by the applicable daly periodic rate, Payments received dunng regular banking hours at our office will be credited on the same benking day. Payments received
after the regutar banking hours will be credited on the next banking day.

In Case Of If you think your statement is wrong, or you nead more information about a transaction on your statement, write us at PO Box 1029, Alma, Mi 48801-1029

Errors Or as s00n as possible. We must hear from you no later than 60 days after we sent you the first statement on which the error appeared. You can telephone us.

Questions at (800) 453-8 700 but doing so will not preserve your rights.

About Your In your latter, give us the following information:

Personal 1. Your name and account number.

Line of Cradit 2. The dollar amount of suspected error.

(This isa 3. Describe the error and explain, if you can, why you believe there is an error. If you need more information, describe the

Summary of item you are unsure about.

Your Billing i . 5 , . a : . : . ,

. You do not have to pay any amount in question while we are investigating, but you are still obligated to pay the parts of your bili that are not in question. While

Rights) we irivestigate your question, we cannot report you as delinquent or take any action te collect the amount you question. If you have authorized us to pay your
minimum monthly payment automatically by charging your deposit account with us, you can stop the payment on any amount you think is wrong. To stop the
payment, your letter must reach us three business days before the automatic payment is scheduled to occur

in Case Of Please telephone us at (800) 453-8700 or write us at RO. Box 1029, Alma, MI 48801-1029 as soon as you can, if you think your statement or receipt is

Errors Or wrong, or if you need more information about a tranafer on this statement or on a receipt. We must hear from you no later than 60 days after we sent you the

Questions FIAST ‘statement on which the problem or error appeared.

About : 1. Tell us your name and account number.

Electronic 2. Describe the srror or transfer you are unsure about, and explain as clearly as you can why you believe there ig an error or why you need

Transfers more information.

3. Tall us the dollar amount of the suspected error.

We will investigate your complaint and correct any error promptly. If we take more than 10 business days (20 days from point-of-sale or foreign debit card
transactions} to do this, we will recredit your account for the amount you think is in error, so that you will have use of the money cdunng the time it takes ug lo
complete our investigation. .

Preauthorized if you have aranged to have direct deposits mace to your account at least once every 60 days from the same person or company, you can call us at

Credits (800) 453-8700 during normal business hours to find out whether or not the deposit has bean made.

 

MGMG (Rev. 06/2018)
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 34 of 57

 

 

Statement Ending Balance 112.60
Deposits in Transit , 0.00
Outstanding Checks and Charges ‘0.00
Adjusted Bank Balance 112.60
Book Balance 112.60
Adjustments* 0.00
Adjusted Book Balance 112.60

Total Checks and Charges Cleared 0.00 Totai Deposits Cleared 0.00

=.
Deposits

  

 

  

Total Deposits - 0.00 0.00

Checks and Charges

Total Checks and Charges 6.00 0.00
MGMCSTMTN 200701-21778-00041

Case:20-01947-jwo Doc #:315-3 Filed: 09/16/2020 Page 35 of 57

8616 Byron Center Ave, SW
Wyoming, Mil 49519

Return Service Requested Page: 1 of 1
, Statement Date: 06/30/2020

Primary Account: XXXXXX6926
Documents: 0

 

Mercantile

Bavk.of Michigan ed 07001

Period: 05/29/20 to 06/30/20

E
BARFLY VENTURES, LLC <T> 30-0
35 OAKES ST SW STE 400 0
GRAND RAPIDS, Mi 49503 0

 

 

BUSINESS MONEY MARKET ACCOUNT : XXXXXX6926
30,019.48 06/30/20 30,020.80 1.32 (1)
Minimum Balance 30,019.48
Avg Available Balance 30,019.48
Average Balance 30,019.48

   

Date Description Amount

     

06/30 Interest 1.32
gf 3: e ee
Average Ledger Balance: 30,019.48 Interest Earned: 1.32
Average Available Balance: 30,019.48 Days In Period: 32
Interest Paid This Period: 1.32 Annual Percentage Yield Earned: 05%
Interest Paid 2020: 15.87

 
      

ie 4 ey SS EO
ate Balance ate Balance Date Balance
06/30 30,020.80
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 36 of 57

THIS FORM 18 PROVIDED TO HELP YOU BALANCE YOUR STATEMENT. BEFORE YOU START —

PLEASE BE SURE YOU HAVE ENTERED IN YOUR REGISTER ALL AUTO- OUTSTANDING
MATIC TRANSACTIONS SHOWN ON THE FRONT OF YOUR STATEMENT. . GHECKS OR WITHDRAWALS
YOU SHOULD HAVE ADDED YOU SHOULD HAVE SUBTRACTED NO. AMOUNT
IF ANY OCCURRED: IF ANY OCCURRED:
1. Loan advances. 1. Automatic loan payments.
2. Credit memos. 2. Automatic savings transfers.
8. Other automatic deposits. 3. Service-charges.
4. Interest. . 4. Debit memas.
5. ATM or debit card withdrawals.
6. Other automatic deductions and payments
BALANGE SHOWN
ON THIS STATEMENT = $
ADD
DEPOSITS NOT SHOWN
ON THIS STATEMENT
gFANY) §
TOTAL $
SUBTRACT —

CHECKS OR WITHDRAWALS
OUTSTANDING $

 

BALANCE s_

SHOULD AGREE WITH YOUR REGISTER
BALANCE AFTER DEDUCTING SERVICE CHARGE
(IF ANY) SHOWN ON THIS STATEMENT.

 

IMPORTANT Please examine this ‘statement immediately. We will assume that the balances it shows are correct unless you notify us of any
disagreement within 60 days.

 

How Finance If this statement includes billing information regarding a personal lire of credit, the finance charge for each statement (loan) period 1s calculated by applying the
Charge (if Any) applicable daily periodic rate(s) to the daily balances, penade rates may vary. To gel daly balances, we take the beginning balance of your account each day,
Calculated add any new loans or charges and subtract any payments or credits. Then, we multiply the daily balance each day of the statement period by the applicable daily

periodic rate(s). We than add up all of these daily finance charges to get your total finance charge. if there is only one (1) daily periodic rate during the statement
period, the finance charge may alsa be verified by multiplying the average daily balance by tha number of daysin tha statement period and multiplying the result
by the applicable daly periodic rate. Payments received during regular banking hours at our office will be credited on the same banking day. Payments received
after the regular banking-hours will be credited on the next banking day.

 

In Gase OF Ifyou think your statement is wrong, or you need more information about a transaction on your staternent, write us at PO Box 1029, Alma, MI 48801-1029
Errors Or a8 soon as possible. We must hear from you no later than 60 days after we sent you the first statement on which the error appeared. You can telephone us
Questions at (800} 453-8 700 but cloing so will not preserve your rights.

About Your

Jn your letter, give us the following information:

 

Personal 1. Your name and account number.
Line of Credit .2. The dollar amount of suspected error.
(This isa 3. Descrine the error and explain, if you can, why you believe there is an errar. If you need more information, describe the
Summary of item you are unsure about. :
Your Billing . . - | oe . . F
Rights) You do not have to pay any amount in question while we are investigating, but you are stdt obligated to pay the parts of your bill that are not in question. While
Wg we investigate your question, we cannot report you as delinquent or take any action to collact the amount you question. If you have authorized us to pay your
minimum monthly payment automatically by charging your deposit account with us, you can stop the payment on any amount you think is wrong. To stap the
payment, your letter must reach us three business days before the automatic payment is schedulad to occur
fn Case Of Please telephone us at (800} 453-8700 or write us at PO. Box 1029, Alma, MI 48801-1029 as soon as you can, if you think your statement or receipt is
Errors Or wrong, of if you need more information about a transfer on this statement or on a receipt. We must hear from you no later than 60 days alter we sent you the
Questions FIRST statement on which the problem or error appeared.
About
1 I and at r.
Electronic Tell us your name and account number

2. Descnbe the error or transfer you are unsure about, and explain as clearly as you can why you believe there is an errer or why you need
Transfers mote information.
S. Tell us the dollar amount of the suspected error.

We will investigate your complaint and correct any error promptly. if wa take more than 10 business days (20 days from point-of-sale or foreign debit card
transactions) lo do this, we will recredit your account for the amount you think is in error, 30 that you will have use of the money during the time it takes us lo
complete our investigation.

 

Preauihorized if you have arranged to have direct deposits mace to your account at least once every 60 days from the same person or company, you can call us at
Credits (800) 453-8700 during normal business hours to find out whether or net the deposit has been made.

 

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MGMC {Rev. 06/2018}
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 37 of 57
Corporate Business Account Statement

 

Page 1 of 2

Account Number: qin,

For the period 06/01/2020 to 06/30/2020

Number of enclosures: 0

BARFLY VENTURES LLC Tax ID Number ggg
DEBTOR IN POSSESSION , x For Client Services:
35 OAKES ST SW STE 400 Call 1-800-669-1518

GRAND RAPIDS MI 48503
& visit us at PNC.com/treasury

& Write to: Treas Mgmt Client Care
One Financial Parkway
Locato ia

Account Summary Information

   

Balance Summary
Beginning Deposits and Checks and Ending
balance other credits other debits balance
9,917.54 15,000.00 16,139.87 8,777.67

 

Cyber Security Awareness

Do you know what to do if you receive a fraudulent email, text or phone call that appears to come from PNC?
Forward the message to PNC at abusée@pnc.com. If you responded to a fraudulent text or email, clicked ona
link, opened an attachment and/or disclosed personal information, immediately change your online banking
password, using another device if possible. Then contact PNC Bank's Online Banking Team at 1-800-762-2035,
select 1 for personal account or 2 for a business account, then select option 3.

 

 

 

 

Deposits and Other Credits Checks and Other Debits
Description Items Amount Description : Items . Amount
Deposits 0 .00 | Checks 0 .00
National Lockbox 0 .00 | Returned Items 0 00
ACH Credits 2 15,000.00 | ACH Debits 0 .00
Funds Transfers In 0 .00 | Funds Transfers Out 0 .00
Trade Services 0 .00 | Trade Services 0 .00
Investments 0 -00 | Investments 0 .00
Zero Balance Transfers 0 .00 | Zero Balance Transfers 0 .00
Adjustments 0 .00 | Adjustments 0 .00
Other Credits 0 .00 | Other Debits 5 16,139.87
Total 2 15,000.00 | Total 5 16,139.87
Ledger Balance
Date Ledger balance | Date Ledger balance Date Ledger balance
06/01 9,917.54 06/16 7,500.00 06/29 9,000.00
06/11 417.54 06/23 2,500.00 06/30 8,777.67
06/12 - 7,917.54 06/26 - 10,000.00
Deposits and Other Credits
ACH Credits 2 transactions for a total of $15,000.00
Date , Transaction Reference
posted Amount description number
06/12 7,500.00 Corporate ACH Achpayment

, Barfly Venture
06/26 7,500.00 Corporate ACH Achpayment a:

Barfly Ventures
Case:20-01947-jwo Doc #:315-3 Filed: 09/16/2020 Page 38 of 57
Corporate Business Account Statement

BARFLY VENTURES LLC

 

 

For the period 06/01/2020 to 06/30/2020

 

 

 

DEBTOR IN POSSESSION Account number: "gggaaanaaiaaiiis

. Page 2 of 2
Checks and Other Debits
Other Debits 5 transactions for a total of $16,139.87
Date Transaction Reference
posted Amount description _ number
06/11 9,500.00 = Account Transfer To eee. BARFLY VENTURES
06/16 417.54 Account Transfer To Qe BARFLY VENTURES
06/23 5,000.00 Withdrawal cere
06/29 1,000.00 Withdrawal : ae
06/30 222.33 Corporate Account Analysis Charge gga
Member FDIC Equal Housing Lender
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 39 of 57

   

Statement Ending Balance , — 430.60
Deposits in Transit . 0.00
Outstanding Checks and Charges 0.00
Adjusted Bank Balance ‘ "430.60

Book Balance 430.60
Adjustments* 0.00
Adjusted Book Balance 430.60
Total Checks and Charges Cleared 0.00 Total Deposits Cleared 0.00
Deposits
eo

 
 
  

 

0.00

 

Checks and Charges . 0.00 0.00
Case:20-01947-jwo Doc #:315-3 Filed: 09/16/2020 Page 40 of 57
Corporate Business Account Statement

Page 1 of 2

 

Account Number: sqgRE

For the period 06/01/2020 to 06/30/2020

BARFLY VENTURES LLC

SITE LEVEL CHECKING
DEBTOR IN POSSESSION

35 OAKES ST SW STE 400
GRAND RAPIDS MI 49503-3137

 

Account Summary Information
Balance Summary

Beginning
balance

34.94-

 

Number of enclosures:

Tax ID Number: SERS,

x For Client Services:
Call 1-800-669-1518

0

&B Visit us at PNC.com/treasury

BR write to: Treas Mgmt Client Care .
One Financial Parkway

Locator Quin

Deposits and Checks and
other credits other debits
48,034.94 34,534.99

Kalamazoo Mi 49009

 

Ending
balance

13,465.01

 

Cyber Security Awareness

Do you know what to do if you receive a fraudulent email, text or phone call that appears to come from PNC?
Forward the message to PNC at abuse@pnc.com. If you responded to a fraudulent text or email, clicked ona
link, opened an attachment and/or disclosed personal information, immediately change your online banking
password, using another device if possible. Then contact PNC Bank's Online Banking Team at 1-800-762-2035,
select 1 for personal account or 2 for a business account, then select option 3.

 

 

 

 

Deposits and Other Credits Checks and Other Debits

Description Items Amount Description . Items Amount

Deposits 0 .00 | Checks 0 .00

National Lockbox 0 .00 | Returned Items 0 .00

ACH Credits 3 38,117.40 | ACH Debits 0 .00

Funds Transfers In 0 .00 | Funds Transfers Out 0 .00

Trade Services 0 .00 | Trade Services ) .00

Investments 0 -00 | Investments 0 .00

Zero Balance Transfers 0 .00 | Zero Balance Transfers 0 .00

Adjustments 0 .00 | Adjustments 0 .00

Other Credits 2 9,917.54 | Other Debits 6 34,534.99

Total 5 48,034.94 | Total 6 34,534.99

Ledger Balance

Date Ledger balance Date Ledger balance Date Ledger balance

06/01 34.94- 06/16 882.60 06/23 15,382.60

06/11 9,465.06 06/17 6,882.60 06/24 23,500.00

06/12 465.06 06/19 21,882.60 06/30 13,465.01

Deposits and Other Credits

ACH Credits 3 transactions for a total of $38,117.40

Date Transaction Reference

posted Amount « description number

06/17 15,000.00 Corporate ACH Achpayment iia
Barfly Venture Qi 7

06/19 15,000.00. Corporate ACH Achpayment enh

Barfly Ventur

ACH Credits continued on next page
Case:20-01947-jwbo Doc #:315-3 Filed: 09/16/2020 Page 41 of 57
Corporate Business Account Statement

BARFLY VENTURES LLC
SITE LEVEL CHECKING

For the period 06/01/2020 to 06/30/2020

Account number
Page 2 of 2

 

Deposits and Other Credits - continued

 

ACH Credits = - continued

Date

3 transactions for a total of $38,117.40

Transaction Reference

 

 

 

 

 

 

posted Amount description number

06/24 8,117.40 Corporate ACH Achpayment 7s,
Barfly Venture—yiiie

Other Credits 2 transactions for a total of $9,917.54

Date Transaction Reference

posted description number

06/11 9,500.00 Account Transfer From BARFLY VENTURES

06/16 417.54 Account Transfer From BARFLY VENTURES

Checks and Other Debits

Other Debits 6 transactions for a total of $34,534.99

Date Transaction Reference

posted Amount description number

06/12 4,500.00 Withdrawal (

06/12 4,500.00 Withdrawal

06/17 9,000.00 Withdrawal

06/23 6,500.00 Withdrawal

06/30 10,000.00 Withdrawal

06/30 34.99 Corporate Account Analysis Charge

Member FDIC Equal Housing Lender
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 42 of 57

   

Statement Ending Balance
Deposits in Transit
Outstanding Checks and Charges

Adjusted Bank Balance
Book Balance

Adjustments*

Adjusted Book Balance

Total Checks and Charges Cleared

Deposits

sop

   

  

— ms
ger Entry CASH

  

Generai Le OSIT HCLOU

 

General Ledger Entry CASH DEPOSIT HCSL
General Ledger Entry Cash Deposit - HCDT
General Ledger Entry CASH DEPOSIT HCKC
General Ledger Entry Reversed -- Negative Deposit - HCPSL In Trans
General Ledger Entry Reversed -- Missing Deposit
General Ledger Entry CASH DEPOSIT HCKC
Genera! Ledger Entry CASH DEPOSIT HCAA
General Ledger Entry CASH DEPOSIT HCSL
General Ledger Entry CASH DEPOSIT HCMA
General Ledger Entry CASH DEPOSIT HCKC
General Ledger Entry CASH DEPOSIT HCKC
General Ledger Entry CASH DEPOSIT HCROY
General Ledger Entry CASH DEPOSIT HCMA
General Ledger Entry CASH DEPOSIT HCLEX
General Ledger Entry CASH DEPOSIT HCKC
General Ledger Entry PNC and US Bank Transfer
General Ledger Entry PNC and US Bank Transfer
General Ledger Entry PNC and US Bank Transfer
General Ledger Entry PNC and US Bank Transfer
General Ledger Entry PNC and US Bank Transfer
General Ledger Entry CASH DEPOSIT HCDE

General Ledger Entry PNC and US Bank Transfer

  

 

123,000.00 Total Deposits Cleared

02/23/2020
02/23/2020
02/26/2020
03/01/2020
03/02/2020
03/02/2020
03/02/2020
03/09/2020
03/09/2020
03/16/2020
03/16/2020
03/17/2020
03/17/2020
03/18/2020
03/18/2020
03/19/2020
05/27/2020
06/11/2020
06/16/2020
06/18/2020
06/23/2020
06/24/2020
06/25/2020

10,000.00

15,000.00
15,000.00

8,117.40

  

43,132.99
20,227.74
-17,651.00

45,709.73

 

45,709.73

0.00

45,709.73

48,117.40

 
    
 
   

283.00
112.24
69.50
182.00
1,008.00
2,432.00
260.00
351.50
104,00
40.50
276.00
50.00
9.25
0.75
9,00

17.00

7,500.00

23.00

7,500.00
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 43 of 57

— — ———
Total Deposits 48,117.40 20,227.74

 
  

Checks and Charges

     

 

 

jegative epos - HCSTL In ‘Trans 03/02/2020 2,151.00
General Ledger Entry PNC and US Bank Transfer 04/07/2020 100,000.00
General Ledger Entry PNC and US Bank Transfer 04/08/2020 23,000,00
General Ledger Entry Negative Deposit - HCAA 06/16/2020 5,500.00
General Ledger Entry Negative Deposit - HCDT 06/16/2020 3,500.00
General Ledger Entry Negative Deposit - HCDT 06/23/2020 2,060.00
General Ledger Entry Negative Deposit - HCAA 06/24/2020 4,500.00

I
Total Checks and Charges 123,000.00 17,651.00
(Sbank7" Doc #:315-3 Filed: 09/16/2020 Page 4Bwisitfess Statement

Account Number:

 

" P.O. Box 1800
Saint Paul, Minnesota 55101-0800 : Statement Period:
8830 IMG s Y ST01 Jun 1, 2020
—_e through
Jun 30, 2020
i i Page 1 of 3
Mag tentegteng gt fete gegen fe fa PAe fet af gD Ea Leg tage gtagtlny
000007901 01 SP 0.560gS2UUAAED y
HOPCAT LINCOLN LLC : a To Contact U.S. Bank
C/O BARFLY VENTURES LLC . .
35 OAKES ST SW STE 400 Commercial Customer
GRAND RAPIDS MI 49503-3137 Service: 1-866-822-4506
U.S. Bank accepts Relay Calls

Internet: usbank.com

  
 

Scan here with your phone's camera to download the U.S. Bank Mobile App.

 

Us. Bank National Association
Account Summary

 

 

  
  

 

# Items

Beginning Balance on Jun 1 $ 203.93
Other Deposits 2 17,317.02
Other Withdrawals 2 7,520.95-

Ending Balance on Jun 30, 2020 $ 10,000.00
Other Deposits
Date Description of Transaction Ref Number Amount
Jun 17 Electronic Deposit From Barfly Ventures $ 7,500.00

REF = Sg

 

Total Other Deposits $ 17,317.02

 

Other Withdrawals
Date Description of Transaction . Ref Number . Amount
dun 12 Analysis Service Charge

 

 

 

Total Other Withdrawals $ 7,520,.95-
Balance Summary : .
Date Ending Balance Date Ending Balance Date Ending Balance
Jun 12 182.98 Jun 24 182.98 Jun 26 10,000.00
Jun 17 . 7,682.98

 

Balances only appear for days reflecting change.

 
 
 

 

 

Account Analysis Activity for: May 2020

Account Number: $ 20.95
Analysis Service Charge assessed to $ 20.95
(bank: HADES ooRAccIAE: 09/16/2020 Page 45 of 57

To keep track of all your transactions, you should balance your account every month. Please
examine this statement immediately. We will assume that the balance and transactions shown are
correct unless you notify us of an error.

Outstanding Deposits

1. List any deposits that do not appear on your statement in the Outstanding Deposits section at
~ the left. Record the total.

2. Check off in your checkbook register all checks, withdrawals (including Debit Card and ATM)
and automatic payments that appear on your statement. Withdrawals that are NOT checked off

 

AL should be recorded in the Outstanding Withdrawals section at the left. Record the total.
Outstanding Withdrawals Enter the ending balance shown on this statement. 3
TE Enter the total deposits recorded in the Outstanding Deposits section. $
Total lines 3 and 4. $

Enter the total withdrawals recorded in the Outstanding Withdrawals section. $

Subtract line 6 from line 5. This is your balance. §

ON AH Bw

Enier in your register and subtract from your register balance any checks, withdrawals or other
debits (including fees, if any) that appear on your statement but have not been recorded in your
register.

9. Enter in your register and add to your register balance any deposits or other credits (including
interest, if any) that appear in your statement but have not been recorded in your register.

10. The balance in your register should be the same as the balance shown in #7. If it does not
match, review and check all figures used, and check the addition and subtraction in your register.
lf necessary, review and balance your statement from the previous month.

AL

 

IMPORTANT DISCLOSURES TO OUR CONSUMER CUSTOMERS
in Case of Errors or Questions About Your Checking, Savings, ATM, Debit Card, ACH, Bill Pay and Other Electronic Transfers
\f you think your statement or receipt is wrong or if you need more information about a transfer on the statement or receipt, we must hear from you no later than 60 days” after we sent you
the FIRST statement on which the error or problem appeared. Telephone us at the number listed on the front of this statement or write to us at U.S. Bank, EP-MN-WSS5D, 60 Livingston
Ave., St. Paul, MN 55107.
e Tell us your name and account number.
¢ Describe the error or the transfer you are unsure about, and explain as clearly as you can why you believe there is an error or why you need more information.
® Tell us the dollar amount of the suspected error.
We will determine whether an error occurred within 10 business days after we hear from you and will correct any error promptly. If we need more time, we may take up to 45 days to
investigate your complaint. For errors involving new accounts, point-of-sale, or foreign-initiated transactions, we may take up to 90 days to investigate your complaint. If we decide to do this,
we will credit your account within 10 business days for the amount you think is in error, so that you will have the use of the money during the time it takes us to compiete our investigation. If
we ask you to put your complaint or question in writing and we do not receive it within 10 business days, we may not credit your account. :

*Please note: Paper draft and paper check claims must be disputed within 30 days per Your Deposit Account Agreement.

IMPORTANT DISCLOSURES TO OUR BUSINESS CUSTOMERS

Errors related to any transaction on a business account will be governed by any agreement between us and/or all applicable rules and regulations governing such transactions, including the
rules of the National Automated Clearing House Association (NACHA Rules) as may be amended from time to time. If you think this statement is wrong, please telephone us at the number
listed on the front of this statement immediately.

CONSUMER BILLING RIGHTS SUMMARY REGARDING YOUR RESERVE LINE

What To Do If You Think You Find A Mistake on Your Statement

If you think there is an error on your statement, write to us at:

U.S. Bank, P.O. Box 3528, Oshkosh, WI 54903-3528.

in your letter, give us the following information:

« Account information: Your name and account number.

© Dolfar Amount: The dollar amount of the suspected error.

e Description of probfem: \f you think there is an error on your bill, describe what you believe is wrong and why you believe it is a mistake.

You must contact us within 60 days after the error appeared on your statement.

You must notify us of any potential errors in writing. You may call us, but if you do we are not required to investigate any potential errors and you may have to pay the amount in question.

While we investigate whether or not there has been an error, the following are true:

e We cannot try to collect the amount in question, or report you as delinquent on that amount.

* The charge in question may remain on your statement, and we may continue to charge you interest on that amount. But, if we determine that we made a mistake, you will not have to
pay the amount in question or any interest or other fees related to that amount.

@ While you do not have to pay the amount in question, you are responsible for the remainder of your balance.

e We can apply any unpaid amount against your credit limit.

Reserve Line Balance Computation Method: To determine your Balance Subject to Interest Rate, use the dates and balances provided in the Reserve Line Balance Summary section.
The date next to the first Balance Subject to Interest is day one for that balance and is applicable up to (but not including) the date of the next balance (if there is one). We multiply the
Balance Subject to Interest by the number of days it is applicable and add them up to get the same number of days in the billing cycle. We then divide the result by the number of billing

days in the cycle. This is your Balance Subject to Interest Rate. Any unpaid interest charges and unpaid fees are not included in the Balance Subject to Interest. The **INTEREST
CHARGE** begins from the date of each advance.

REPORTS TO AND FROM CREDIT BUREAUS FOR RESERVE LINES
We may report information about your account to credit bureaus. Late payments, missed payments or other defaults on your account may be reflected in your credit report.

CONSUMER REPORT DISPUTES :

We may report information about account activity on consumer and small business deposit accounts and consumer reserve lines to Consumer Reporting Agencies (CRA). As a result, this
May prevent you from obtaining services at other financial institutions. If you believe we have inaccurately reported information to a CRA, you may submit a dispute by calling 844.624.8230
or by writing to: U.S, Bank Attn: Consumer Bureau Dispute Handling (CBDH), P.O. Box 3447, Oshkosh, Wi 54903-3447. in order for us to assist you with your dispute, you must provide:
your name, address and phone number; the account number; the specific information you are disputing; the explanation of why it is incorrect; and any supporting documentation (e.g.,
affidavit of identity theft), if applicable.

EQUAL HOUSING

Member FDIC
(Sban “0194 Fd BEAT LIRGENHZ15-3 Filed: 09/16/2020 Page 4®tsivess Statement

 

 

C/O BARFLY VENTURES LLC Account Number:
35 OAKES ST SW STE 400
GRAND RAPIDS MI 49503-3137 ae
Statement Period:
Jun 1, 2020
through
_ Jun 30, 2020
, J Page 2 of 3
Service Activity Detail for Account Num
Service Volume Avg Unit Price Total Charge
Depository Services
Simt w/Check Ft images . 1 5.00000 5.00
Subtotal: Depository Services 5.00
SinglePoint

 

Fee Based Service Charges for Account NumberqgaaaaR, $ 20.95
bait -0194 Gdvdar uReonNHISL5-3 Filed: 09/16/2020 Page 47Bashvess Statement
8 C/O BARFLY VENTURES LLC Account Number:
35 OAKES ST SW STE 400 ‘ies
GRAND RAPIDS MI 49503-3137
Statement Period:
Jun 1, 2020
through

Jun 30, 2020

Page 3 of 3

 
   

Account Number (qi,

 

BUSINESS CURRENCY/COIN ORDER DEBIT (bank. custeuien Locanion sa.

RovTa MuMeseR

ACCOUNT NUMBER

= | mows 3”

dumrasorctanne 24067 (10) 60455891

N00 >
Oe 724/202) USi14 USE
RISC IR #

76 $7,500.00

 

 

 

 

0000 Jun 24 7,500.00
Case:20-01947-jwb _ Doc #:315-3 Filed: 09/16/2020 Page 48 of 57

 

  
     

Statement Ending Balance

 

8,837.23

Deposits in Transit 45,817.02
Outstanding Checks and Charges ~36,020.95

Adjusted Bank Balance . 38,633.30

SS

Book Balance

38,633.30

Adjustments* 0.00
Adjusted Book Balance 38,633.30
Total Checks and Charges Cleared 0.00 Total Deposits Cleared 0.00

Deposits

General Ledger Entry PNC and US Bank Transfer

    
   

/0

  

28,500.00
General Ledger Entry PNC and US Bank Transfer 06/16/2020 7,500.00
General Ledger Entry PNC and US Bank Transfer 06/25/2020 9,817.02

Total Deposits 0.00 45,817.02

Checks and Charges

] ti
: ee

A ae
General Ledger Entry PNC and US Bank Transfer 04/08/2020

 
        

28,500.00
General Ledger Entry US Bank Fees - P5 2020 05/14/2020 20.95
General Ledger Entry Negative Deposit - HCLN 06/23/2020 7,500.00

Total Checks and Charges 0.00 36,020.95
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 49 of 57

  

CHEMICAL,
BANK

#

 

BREE Member FDIC A Division of TCF National Bank

PO BOX 523| MIDLAND, MI 48640-0529.
800.867.9757

BARFLY VENTURES, LLC
35 OAKES ST SW SUITE 400
GRAND RAPIDS MI 49503-3137

Last statement: May 31, 2020
This statement: June 30, 2020
Total days in statement period: 30

Page 1 of 2

(0)

Direct inquiries to:
Customer Care Center,
1-800-867-9757
Chemical Bank

333 Fort Street Suite 100
Detroit MI 48226

 

THANK YOU FOR BANKING WITH US!

 

Small Business Checking

 

 

 

 

 

 

Account number XXXXXKX5015
Low balance $27,628.87
Average balance $125,142.43
DAILY ACTIVITY
Date Description Additions Subtractions Balance
05-31 Beginning balance $417,232.70
06-01 ' ACH Debit -377.79 416,854.91
CITIZENS ENERGY PAYMENT
06-01 ' " CH Debit 274,632.91
BARFLY VENTURES TRANSFER
eee, .
06-02. Outgoing Wire-Beb 249,825.91
eae. c
PAYROLL
06-03 Outgoing Wire-Beb

EES. ADP, Lic
PAYROLL

 

173,480.91

 

06-04 ‘ Service Charge
STOP PAY CHARGE

173,448.91

 

 

06-04 ' Service Charge
STOP PAY CHARGE

173,416.91

 
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BARFLY VENTURES, LLC Page 2 of 2
June 30, 2020 ; XXXXKX5015
Date Description Additions Balance
06-16 ' ACH Debit 138,276.46
ADP WAGE PAY WAGE PAY
es
06-19 ' Outgoing Wire 38,276.46
___ SRG BARFLY VENTURES LL
06-24 ‘ Cash Monit Trsfr Cr 62,776.46
REF @§BMMP FUNDS TRANSFER FR
DEP XXXXXX7488 FROM
06-26 ' ACH Debit -1.14 62,769.32
DTE Energy QD
ee)
06-29 ' ACH Debit -35,140.45 27,628.87
ADP WAGE PAY WAGE PAY
Q6-30 = Ending totals 24,500.00 ~414,103,83 $27,628.87
OVERDRAFT/RETURN ITEM FEES
Total for Total
this period year-to-date
Total Overdraft Fees $0.00 $0.00
Total Returned Item Fees $0.00 $0.00

 

 

 

Thank you for banking with Chemical Bank
FOLLOW THESE STEPS:
4

2. Subtract from your checkbook

3.List in the space provided any

Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 . Page 51 of 57
. . |

A SUGGESTED METHOD OF RECONCILING YOUR CHECKING ACCOUNT OUTSTANDING BALANCE

CHECK+ AMOUNT

  
  
   
   
 

4. Complete the reconcilement below:

 

Check off the amounts of

all check register entries
against your statement. Also
confirm that the deposits
entered in your checkbook
agree with the deposits shown
on the bank statement.

RATRANCR ON
THIS STATEMENT

 

 

ADD

DEPOSITS LISTED
IN CRECKBOOK
WHICH DO NOT
APPEAR ON THIS
STATEMENT

 

 

 

 

balance any charges made by the
bank.

TOTAL

 

DERUCT TOTAL ;
OF CHECKS
OUTSTANDING
YOUR CHECKBOOK.
BALANCE SHOULD
BE

 

 

outstanding checks which appear
in your checkbook but were not
paid.

 

 

 

 

5.If the final balances do not
agree;

(a) Check additions and
subtractions in your checkbook.
(b) Compare check register entries
with bank statement to ensure
that all items are correctly
listed. Notify bank of any
discrepancies immediately.

 

es,
=

6.For easier check reconcilement,
please register for our
electronic banking service.
More information is available
at www.chemicalbank.com.

 

IN CASE OF ERRORS OR QUESTIONS ABOUT ELECTRONIC TRANSFER TO/FROM YOUR. ACCOUNT:
Telephone Chemical Bank at the phone number listed dn the front of your statement or write te Chemical
Bank at the address on the front of your statement, as scon 4s you can, if you think your statement or
receipt is wrong, or if you need more information about a transfer on the statement or receipt. The Bank
must hear from you no later than 60 days after it sent you the first statement on which the error or
problem appeared.

i)State your name and account nuttber (if any).

2)Describe the error or the transfer you are unsure about, and explain as clearly as you can why
you believe there is dan error or why you need more information.

3)State the dollar amcunt of the suspected error.

The Bank will investigate your complaint and will correct any error promptly. If the Bank takes more than
ten business days to do this, or twenty business days for new accounts that have been. open. for thirty
days. or 1léss, your account will be re-credited for the amount you think is in error, s6 that you will
have the use of the money during the time it takes the Bank to complete its investigation.

 

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Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 52 of 57

Statement Ending Balance
Deposits in Transit

Outstanding Checks and Charges
Adjusted Bank Balance

BarFly Ventures

Reconciliation Report

As Of 06/28/2020
Account: Chemical Bank - *5015 Small Business Checking

Book Balance
Adjustments*

Adjusted Book Balance

Deposits

Name
General Ledger Entry
General Ledger Entry
General Ledger Entry
Total Deposits

Total Checks and
Charges Cleared

Memo
Chemical Bank Transfer
Chemical Bank Transfer
Chemical Bank Transfer

Checks and Charges

Name

DTE Energy

DTE Energy

DTE Energy

DTE Energy

DTE Energy

Citizens Energy Group
General Ledger Entry
General Ledger Entry

General Ledger Entry
General Ledger Entry
General! Ledger Entry
General Ledger Entry

General Ledger Entry

DTE Energy

Memo

PPP Fund Transfer
ADP Payroll Wire -
Chemical Bank

ADP Payroll Wire -
Chemical Bank

Stop Pay Charge -
Chemical

Stop Pay Charge -
Chemical

ADP Payroll Wire -
Chemical Bank
Incoming Wire ee
BARFLY VENTURES,
LLC as

Total Checks and Charges

Created on: 07/12/2020, 8:20 AM EST

 

62,769.32

0.00

0.00

62,769.32

62,769.32

0.00

62,769.32

386,730.68 Total Deposits Cleared 449,500.00

Date Doc No Cleared In Transit
06/01/2020 100,000.00
06/01/2020 325,000.00
06/24/2020 24,500.00

449,500.00 0.00

Date Check No Cleared Outstanding
05/22/2020 ef 2,403.37
05/22/2020 eft 395.72
05/22/2020 eft 555.43
05/22/2020 eft 3,407.50
05/22/2020 eft 1,005.28
05/28/2020 eft 377.79
06/01/2020 . 142,222.00
06/02/2020 24,807.00
06/03/2020 76,345.00
06/04/2020 32.00
06/04/2020 32.00
06/16/2020 35,140.45
06/19/2020 100,000.00
06/24/2020 eft 7.14

386,730.68 0.00

Page 1
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 53 of 57

CHEMICAL
BANK

& Division of TCF National Bank

Geo Member FDIC

 

PO BOX 529| MIDLAND, Mi 48640-0529
800.867.9757

BARFLY VENTURES, LLC
35. OAKES ST SW SUITE 400
GRAND RAPIDS MI 49503-3137

Last statement: May 31, 2020
This statement: June 30, 2020
Total days in statement period: 30

Page 1 of 2
XXXXXXK7488
(0)

Direct inquiries to:
Customer Care Center,
1-800-867-9757

Chemical Bank
333 Fort Street Suite 100
Detroit MI-48226

 

THANK

YOU FOR BANKING WITH US!

 

Business Money Fund

Account number

 

 

 

 

 

 

 

 

 

 

 

XXXXXKX7488

Low balance $5,692,095.94

Average balance $5,726,348.42

Interest paid year to date $6,629.49

DAILY ACTIVITY

Date Description Additions Subfractions Balance

05-31 Beginning balance $6,180, 702.34

06-02 ' Outgoing Wire ~464,106.40 5,716,595.94
SEER (in) Risk Services
Barfly Ventures

06-04 ‘ Service Charge 5,716,563.94
Stop Pay Charge.

06-05 ' Stop Pay Fee Refund 5,716,595.94
Stop Payment Fee Refund

06-24 ' Cash Mgmt Trsfr Dr 5,692,095.94
Ref QQ Funds Transfer To
Dep XXXXXX5015 From

06-30 '‘ Interest Payment 3,327.15 §,695,423.09

06-30 3,359.15 -488,638.40 $5,695,423.09

Ending totals
Case:20-01947-jwb Doc #:315-3

Filed: 09/16/2020 Page 54 of 57

 

 

 

BARFLY VENTURES, LLC Page 2 of 2
June 30, 2020 XXXXXX7488
INTEREST INFORMATION ;
Annual percentage yield earned 0.71%
Interest-bearing days 30
Average balance for APY $5,726,348 .42
Interest earned $3,327.15
OVERDRAFT/RETURN ITEM FEES
Total for Total
this period year-to-date
Total Overdraft Fees $0.00 = $0.00
Total Returned item Fees $0.00 $0.00

 

 

 

 

 

Thank you for banking with Chemical Bank
Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 55 of 57

A SUGGESTED METHOD OF RECONCILING YOUR CHECKING ACCOUNT OUTSTANDING BALANCE

CHECKS AMOUNT

  
  
   
   
 

FOLLOW THESE STEPS:

1. Check off the amounts of
all check register entries
against your statement. Also
confirm that the deposits
entered in your checkbook
agree with the deposits shown
on the bank statement.

4. Complete the reconcilement below:

 

RALANCR ON
RAIS STATEMENT

 

 

ADD
DEPCSITS LISTED
IN CHECKSOOK

 

WHICH DO NOT
APPEAR ON THIS
STATEMENT

 

2. Subtract from your checkbook
balance any charges made by the
bank.

 

TOTAL

 

 

DEDUCE TOTAL
OF CHECKS
OUISTANDING

YOUR CHECKBOO!
BALANCE, SROULD
BS

  

 

3.List in the space provided any
outstanding checks which appear
in your checkbook but were not
paid.

 

 

 

 

 

5.If the final balances do not
agree;

(a) Check additions and
subtractions in your checkbook.
(b) Compare check register entries
with bank statement to ensure
that all items are correctly
listed. Notify bank of any
discrepancies immediately.

 

—
=

6. For easier check reconcilement,
please register for our
electronic banking service.
More information is available
at www.chemicaibank.com.

 

IN CASE OF ERRORS OR QUESTIONS ABOUT ELECTRONIC TRANSFER TO/FROM YOUR ACCOUNT:
Telephone Chemical Bank at the phone numbér listed on the front of your statement or write to Chemical ©
Bank at the address on the front of your statement, as scon as you can, if you think your statement or
receipt is wrong, or if you need more information about a transfer on the statement or receipt. The Bank
must hear from you no later than €0 davs after it sent you the first statement on which the error or
problem appeared.

i)State your name and account number (if any).

2) Describe the error or the transfer you are unsure about, and explain as clearly as you can why
you believe there is an error or why you need more information.

3)State the dollar amount of the suspected error.

The Bank will investigate your complaint and will correct any error promptly. If the Bank takés more than
ten business days to do this, or twenty business days for new accounts that have been open for thirty
days or less, your account will be re-credited for the amount you think is in error, so that you will
have the use of the money during the time it takes the Bank to complete its investigation.

 

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Case:20-01947-jwb Doc #:315-3 Filed: 09/16/2020 Page 56 of 57

Statement Ending Balance
Deposits in Transit
Outstanding Checks and Charges

Adjusted Bank Balance

Book Balance

Adjustments*

Adjusted Book Balance
Total Checks and
Charges Cleared

Deposits
Name Memo

General Ledger Entry Quigoing Wir
BarFly Ventures, LLC

General Ledger Entry Chemical interest

Total Deposits
Checks and Charges
Name Memo .

General Ledger Entry Chemical Bank Transfer
General Ledger Entry Chemical Bank Transfer
General Ledger Entry Chemical Bank Transfer
General Ledger Entry — Correct HNI Payment
made from Chemical
posted in Mercantile
Total Checks and Charges

Created on: 07/12/2020, 9:38 AM EST

BarFly Ventures

Reconciliation Report

As Of 06/28/2020
Account: Chemical Bank - *7488 Money Market

913,606.40

Date
05/11/2020

06/01/2020

Date
06/01/2020
06/01/2020
06/24/2020
06/28/2020

 

 

5,692,095.94
0.00
0.00
5,692,095.94
5,692,095.94
0.00
5,692,095.94
Total Deposits Cleared 6,605,702.34
Doc No Cleared In Transit
eft 6,602,400.00
3,302.34
6,605,702.34 0.00
Check No Cleared Outstanding
100,000.00
325,000.00
24,500.00
464,106.40
913,606.40 0.00

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0.00

Deposits in Transit 1,000.00
Outstanding Checks and Charges 0.00
Adjusted Bank Balance. 1,000.00
Book Balance 1,000.00
Adjustments* 0.00
Adjusted Book Balance 1,000.00

Total Checks and Charges Cleared 0.60 Total Deposits Cleared 0.00
Deposits

 
    
   

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pasar i es he aR TUE
General Ledger Entry PNC, Chemica! and US Bank Transfer 06/26/2020 1,000.00
Total Deposits 0.00 1,000.00

Checks
Na oo

2S ss ORION SUE
Total Checks and Charges

     

and Charges
“Memo. i

0.00 0.00
